                     Design Basics, LLC.
                                 v.
                 Lexington Homes Inc., et al.




                      Report submitted by:
                        Robert Greenstreet
                            August 2015




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1. Introduction

A. Qualifications



I am an architect licensed in the United Kingdom since 1976 and have worked in the United

States since 1978. My curriculum vitae is appended to this report (Appendix A). I am currently

the Dean of the School of Architecture and Urban Planning at the University of Wisconsin-

Milwaukee where I undertake teaching and research into the field of architectural practice and

its relationship to the law. I am trained as an arbitrator and mediator and have served as Interim

Chancellor of the University of Wisconsin-Milwaukee and Director of Planning and Design for

the City of Milwaukee.


B. Compensation


I am compensated at a fixed rate of $15,000.00 for research, preparation and delivery of the

final report. Subsequent involvement in the form of consultation, deposition or trial/hearing

attendance is charged at the rate of $380.00 per hour. My compensation for this project is not

contingent on the conclusion I reach, or the outcome of this case .


C. Scope of Review


I have been retained by the law firm acting on behalf of the defendants Lexington Homes Inc.,

Team Stimpson, LLC., Tailwind Crossings, LLC, Ponds of Menasha, LLC, Fieldstone



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Investments, LLC, Centennial Center, LLC, Jeffrey T. Marlowe, Michelle I. Stimpson and Greg

Wells (hereafter referred to as Lexington) in the case of Design Basics LLC, Prime Designs, Inc.

and Plan Pro, Inc., (hereafter referred to as Design Basics) versus Lexington Homes to provide

opinions on the issue of whether there is substantial similarity between any of the Plaintiff's

housing designs at issue and the defendant's challenged designs; and on the issue of whether

there is any originality and creativity exhibited in the Design Basics' designs.




D. Materials Reviewed


With regard to the case of Design Basics v Lexington, I have reviewed the following documents:


       Materials from the Design Basics' website concerning :

       The Aspen

       The Kendrick

       The Womack

       The Ashwood


       Plaintiff's Complaint for Copyright Infringement


        Lexington brochure materials concerning the models at issue:


       The Carlisle


        The Oakridge



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        The Easton


         The Ashwood




Plaintiff's Objections and Responses to Acuity's First Request for Production of Documents


Plaintiff's Objections and responses to Acuity's First Interrogatories


Plaintiff's First Amended Objections and Responses to Defendant Lexington Homes, Inc. 's First

Set of Interrogatories


Plaintiff's Objections and Responses to Defendant Lexington Homes, Inc.'s First Set of

Interrogatories


Plaintiff's First Amended Objections and Responses to Defendant Lexington Homes Inc.'s First

Request for Production


Plaintiff's Objections and Responses to Defendant Lexington Homes Inc.'s First Request for

Production




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2. Do the Design Basics' housing models at issue exhibit originality
    or creativity in their design?




In order to address this question from an architectural perspective, it is useful to describe the

background of the Architectural Works Copyright Protection Act 1990 (AWCPA), its intention in

protecting original, creative work and its limitations. The models named in the Complaint and

claimed by Design Basics all bear Certificates of Copyright Registration issued by the United

States Copyright Office under the auspices of the AWCPA, and each application to receive

copyright protection was made on the assertion that each design was original, not derivative of

other existing work, and therefore worthy of copyright protection. For the purposes of this report,

it is assumed that the Design Basics' designs at issue were the same as those submitted to the

United States Copyright Office when application for copyright registration was originally made.




The AWCPA was originally developed to protect original, creative expression, which can be

defined architecturally as the protection of artistic building features that are original to their

creator, not derived from any pre-existing work and that precede all others in time. The Act is

not quantifiably specific in determining a measurable scale of originality, and only requires a

minimal level of originality and creativity. However, there must still be some evidence that

originality and creativity exists to warrant copyright protection, either in the component elements

of the design, or in their assembly or arrangement, and sufficient design development of the


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elements (both individually and collectively) to ascertain originality beyond a high level of

generality that may be little more than an overall concept and not a meaningful expression of a

new idea.




In the absence of quantifiable, measurable criteria, there will always be an element of subjective

judgment that must be applied to a design from an architectural perspective to determine if any

originality exists. Such judgment should be applied to the 'protectable elements' or aspects of

each design that, in the case of Design Basics, have not been identified by the Plaintiff to date.

In the absence of any indication as to which elements of the work are claimed to be protectable

under the Act, it is first necessary to establish what the Act does not cover and what is

specifically excluded from copyright coverage . Any remaining aspects of the work can then be

examined for creativity and originality to determine which aspects, if any, are legitimately worthy

of copyright protection. This is particularly important in the case of modestly priced, relatively

small design work such as the Design Basics' housing models in question. Due to the modest

nature of their size and program, these Design Basics models display relatively few building

components in each home design to consider from the perspective of copyright merit, and any

similarities to other home designers may be based solely on the traditional (i.e. pre-existing,

long established, standard, conventional), and therefore non-original elements and their

arrangement rather than any level of original, creative expression .




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In order to try to focus copyright protection on deserving, original work, the Act specifically

excludes building elements that are necessary for construction and so generic and

commonplace as to be considered universal in their application, both at the time of application

for protection and in any previous or subsequent usage. These include traditional relationships

of spaces or rooms (such as bedroom to master bathroom, or kitchen to dining room). Secondly,

the Act excludes building elements that would normally be considered functionally necessary,

such as walls, doors, roofs and windows. These are elements that are considered to be

utilitarian by necessity and are fundamental to the structure and building enclosure of each

design. While an original and creative arrangement of such elements may be potentially

protectable, the constituent elements themselves are not.




Thirdly, the Act does not cover standard architectural features and design elements, such as

columns, molding, gables or window frames, which are considered to be part of a much

broader, traditional architectural vocabulary in the public realm and therefore universally

available to all designers. Again, an original and creative arrangement of these elements may

potentially merit copyright protection, but the constituent components, if they display no

indication of originality, do not.




Collectively, these three categories of exemption can significantly reduce the components of a

building that may be claimed as protectable, especially in the small scale, modestly priced

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housing field. For example, functional elements are going to be determined by the building's

primary purpose, which is to provide a habitable, residential environment. Each building needs

to incorporate provisions for adequate shelter from the elements, and include conditions

necessary for habitability, such as heat, cooling, ventilation and light. Such features that are

integral to these functions, such as walls, windows, doors and roofs, cannot exist independently

of their basic utilitarian function and, as these elements constitute a major proportion of any

basic house, the opportunity for creating original, creative expression, even at a minimal level, is

limited. Doors and windows, for example, have to punctuate walls to provide light, ventilation

and access. Roofs are often pitched to create optimum weather protection, a conventional

strategy that largely determines the physical appearance and the overall massing, or shape, of

each building . These features and arrangements alone greatly determine the visual appearance

of most modestly sized housing units.




Furthermore, absent any original, creative design elements such as unique architectural details

or unusual features not normally associated with reasonably       pric~d,   traditional housing stock

(non-traditional combinations of building materials, for example, or original elements such as

creatively conceived balconies, stairways or roofing configurations), an alternative argument for

copyright protection may lie in the original arrangement of spaces, rooms or other elements

within a building. Again, in a relatively simple house, this is difficult to achieve. The typical

market rate house has relatively few rooms that, by virtue of their individual domestic function,


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tend to be arranged in traditional relationships to meet user needs and market demand. There

are certain relationships of rooms and spaces that, over time, have proven to be the most

logical, effective and desirable from a consumer perspective.




For example, in two story homes, there is often a powder room on the first floor and larger

bathrooms on the second floor close to the bedrooms, where the largest, or master, bedroom is

served by an accompanying bathroom. Dining rooms/areas and breakfast spaces are situated

adjacent to kitchens, while living rooms are located to provide prominent views of outside

landscaping. Garages, if they are integral, often connect to the main house through a mudroom,

utility room or kitchen and so on. By the time the basic relationships are established and fitted

within the three dimensional shell of the house, there are few opportunities for originality and

creativity that might deserve copyright protection without significant budgetary additions, which

are unusual in the highly competitive and largely traditional housing market. Certainly, the

simple manipulation of conventional rooms and spaces into a predictable, arrangement

evidenced in countless other housing prototypes over the years does not usually entail an

original outcome unless there is some minimal level of originality and creativity in the

arrangement. This is particularly evident in modestly priced, modestly sized housing where

conventional, traditional solutions are if anything prized over innovation by consumers .




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After careful examination, it is my opinion that no demonstration of any such originality or

creativity is evident in any of the Design Basics' models in question, either in the design as a

whole or in their constituent elements or the arrangement, selection or composition of those

elements.




The combined consequence of collectively considering these three exclusion categories -

functional requirements, traditional configurations of space and standard architectural details-

provides a much clearer indication of any remaining originality and, as previously stated, will be

particularly noticeable in smaller buildings such as those in the modestly priced housing sector

where Design Basics operates. Here, cost, code requirements and consumer preference will

further limit the scope of design alternatives. Given the size and small number of rooms, there

are relatively few components and therefore a limited number of plan layouts and appearances

possible. This reality necessarily limits the number of potentially original design opportunities .

Once the basic spatial arrangement of rooms has been set, the functional elements required to

make the building habitable, and any standard architectural features included, it becomes

challenging to specifically identify any elements, or combination or arrangement of elements

that can accurately be described as original or creative .




As established above, in order to enjoy copyright protection under the AWCPA, it is necessary

to establish a minimal level of originality and creativity, a difficult task in the housing market at

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issue. This is not to say that originality cannot be successfully demonstrated and copyright

protection legitimately earned. However, it is usually achieved at the higher value end of the

housing market where, in individual, single family homes, factors such as adequate budget,

client preference, larger unit size and greater engagement of architectural expertise provide

more opportunity for the exploration and inclusion of creative elements or arrangements. It is

much less common in the more economically priced realms of the housing market where

budgets are significantly smaller, consequent building size and programs are more restrictive,

and where client demand is likely to be more conventional and skewed towards the traditional.

In this market, it is also less likely for professionally trained, licensed architects to be involved in

the design process. A review of any property section in any local newspaper, Parade of Homes

or suburban housing website will reveal very little variation in housing styles, and very little

originality in individual units. (Appendix C diagrammatically illustrates the simple, generic

principles in both plan and elevation of the Design Basics' models in question. Specifically, it

demonstrates how the Design Basics' models have a very similar generic layout and

appearance to many other designs produced throughout the country). Such housing units are

doubtless functional, economical, and habitable. They successfully anticipate and meet

consumer demand in a market where individuality and originality are less prized, but instead fall

squarely into the category of conventional, traditional housing that neither attempts to be nor

can legitimately be described as original or creative.




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In the case of the Design Basics portfolio, a review of the work at issue reveals a range of

conventional housing alternatives. Specifically, the models in question contain no evidence of

creative expression or originality, especially when they are viewed in the necessary absence of

functional requirements, traditional arrangements of spaces and standard architectural features.

The models, which fall squarely into the category of conventional, modestly priced housing, are

generated by basic, functional and economic restrictions and a desire to create traditional,

predictable and recognizably conventional housing solutions (which are often self-described on

the Design Basics' website as 'traditional' - not a term usually associated with innovation) which

satisfy market acceptability and demand. Consequently, it should not be surprising that so many

designs in both Design Basics' portfolio and in the work of other housing companies look

familiar (see Appendix C). They share a common generic background in both layout and

appearance that is embedded in a traditional vocabulary that was pre-existing before copyright

protection or the advent of the AWCPA. Traditional homes similar to the Design Basics' designs

can be seen in publications and on websites created by homebuilders across the country, where

modest similarities are expected when works draw extensively from pre-existing information

readily available in the public realm (see Appendix D). For example, based upon a review of

readily available published materials containing housing designs, it is clear that pre-existing

publications (such as, for example, The Plan Book series published by Robert Fillmore and

Associates - now The Fillmore and Chambers Design Group - since 1980) contain designs that

share plans and housing appearances similar to those claimed by Design Basics. In Appendix

C, the 'bubble' diagrams showing the simple, generic layout and appearance of each of the

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Design Basics' models demonstrates the wide range of similar layouts and appearances of

comparable, generic homes that exist, and have long existed, across the country. This raises

the issue as to whether the designs of Design Basics may themselves have been derived from

existing sources, given the similarities to existing designs. This would challenge the claim for

originality that was used as a basis for copyright registration and, when taken in conjunction with

the exclusion of functional elements, traditional spatial arrangements and standard architectural

features, renders any copyright protection unsupportable.




The Design Basics' models at issue, while displaying no elements or combination of elements

that could be regarded as original, have their origins firmly rooted in the past, in the pool of

existing design arrangements commonly associated with the housing market. The layouts of

each model contain a conventional array of rooms and spaces, predictably arranged and

consistent with housing alternatives seen in housing markets across the country for many years .

The massing of the houses, their material construction and architectural details are conventional

choices that reflect traditional housing solutions that conform to the expectations of market rate

housing. The 'style' of the models reviewed , most of which Design Basics prominently

advertises as 'traditional', are consistent with the understanding that the word implies. This

confirms the conclusion that they are in keeping with the long-standing style or custom and are

congruent with long-established standards and conventions of house design in both plan and

appearance.


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Therefore, it is my opinion that the Design Basics' models at issue contain no expressions of

originality or creativity either in their building elements or in the arrangement, selection or

composition of these elements, or in their overall form. Instead, each unit conforms to an

expected formula of traditional rooms and spaces that are conventionally arranged and

predictable in appearance, and are comparable to the products of many other housing

competitors across the country. In this respect, their recognition and marketing of the style of

many of their models as 'traditional' and all that the word implies, is entirely accurate.




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3. Are the challenged housing models by Lexington substantially
similar to the designs claimed by Design Basics LLC ("Design
Basics")?


I have reviewed the Design Basics' home designs at issue. Each design on their website is

accompanied by descriptive text that outlines, among other things, the style, number and use of

each room and the overall dimensions and square footage of each house. I have reviewed

comparable materials from Lexington of the models in contention .




The following lists each Design Basics' model at issue and the corresponding accused homes

built by Lexington. In each case, I compared the designs to determine if there was substantial

similarity that might infer that the Lexington model was copied from or derived from the Design

Basics model :




DESIGN BASICS                                             LEXINGTON


Aspen                                                     Carlisle


Kendrick                                                 Oakridge


Womack                                                    Easton


Taylor                                                    Ashwood




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 A collective review of the comparisons listed above indicates that none of the Lexington

designs are exact copies of the Design Basics' models, and that none of the Lexington designs

are in any way directly copied by either electronic or manual means from the Plaintiff's work.




It is apparent that significant and sufficient differences exist between the Design Basics and

Lexington designs to disprove any claim that one was used directly to create the other. The

drawings , when viewed together in association with the actual dimensions listed on each set of

plans , display such a variation of overall building size, individual room dimensions and spatial

relationships as to disprove any claim that the Design Basics' materials were directly copied,

traced over or reproduced to create the Lexington designs. Furthermore, no correlation of major

external walls or interior walls exists that would indicate direct copying .


The question of whether one set of drawings influenced the other, or more specifically whether

there is 'substantial similarity' between the two sets of designs requires greater scrutiny. Given

their similar building programs, dimensions and market niche within the housing market, they

are likely to conform to generally accepted expectations in both layout and appearance and not

appear markedly different from many other builders competing in the same market (see

Appendix C) .


A detailed comparative analysis of the plans and associated information (see Appendix B), in

addition to demonstrating no correlation in actual dimensions, sometimes shows a certain

similarity in room juxtapositions, but only within the normally expected parameters of residential

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construction. For example, bedrooms are close to bathrooms and closets, and kitchens are

close to breakfast or dining spaces. The Design Basics' plans display no original spatial layouts

or arrangements of spaces beyond standard configurations of spaces which are not protectable

under the Architectural Works Copyright Protection Act (see Section 2 of the report) and no

indication of substantial similarity beyond basic layout characteristics anticipatable between

comparable housing contractors working in the same housing market, albeit in different states.




Similarly, the massing and appearance of the various pairs of designs analyzed do not reveal

any substantial similarities. There are sufficient differences in appearances of the compared

models to demonstrate no direct copying and no substantial similarities exist beyond the

expected, conventional palette of building materials and traditional fac;ade compositions that are

predictable in this sector of the housing market.




When collectively assessed, a comparison of the Design Basics' models to those created by

Lexington reveals many differences. In addition to differing room dimensions and overall square

footage, there are further examples of different design features in each of the sets of drawings

compared. These range from differences in the overall massing of the homes caused by

contrasting roofing configurations (see Appendix B list on how Lexington's Carlisle differs from

Design Basics' Aspen), to overall building footprint, square footage and appearance (see

Appendix B list of how Lexington's Ashwood differs from Design Basics' Taylor).

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There are also many indications of the use of different building materials, particularly on the

exteriors of the compared models, which change the appearance of the homes (see Appendix B

list of how Lexington's Easton differs from Design Basics' Womack. In addition, many examples

can be found of differing building details, such as windows , porches, garage doors and other

details around doors and eaves. (See all lists in Appendix B for numerous examples.)




The many differences in square footage, individual room dimensions, building massing, roofing

configurations, building appearance, building materials and building details articulated in

Appendix B support the conclusion that none of the models of Design Basics and Lexington

listed at issue are substantially similar. To the extent that Design Basics' comparisons attempt

to claim substantial similarity, any such similarities exist only at the level of standard, traditional

and non-original elements and their arrangement, not at the level of any creative, original

expression .




In summary, the findings of this section of the report confirm that the analysis of the models in

dispute disprove any suggestion of direct copying of any of the Design Basics' designs, and

furthermore no evidence exists of substantial similarity between the designs claimed by Design

Basics and those created by Lexington. It is clear that Lexington did not directly copy any of the

Design Basics' designs, and that any comparability between the models in question is due to

the kind of commonalities in building type, building size and building spatial arrangement and

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appearance that is to be expected within this traditional sector of the housing industry. Such

layouts, room arrangements and appearances have existed in the market long before copyright

protection was enacted, and reflect how elements are organized in predictable, conventional

spatial configurations that are commonplace in comparable, utilitarian buildings.




Despite general similarities normally anticipatable in the traditional and conventional housing

market, still many differences exist between the models claimed by Lexington and those owned

by Design Basics in terms of their respective square footage, dimensions, plan layouts,

massing, use of materials and appearance that reject the notion of substantial similarity.




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    4. Summary


The findings of this report confirm that the evidence disproves any suggestion of direct copying

of any Design Basics' designs at issue, and that there is no substantial similarity between the

Design Basics' models and those created by Lexington. It is clear that Lexington did not directly

copy any of the Design Basics' designs and that any comparability between the models in

question is due to similarities in building type and program , building size, room arrangement and

general appearance that have been traditionally used in the housing industry long before

copyright protection existed. When compared directly, the models owned by Lexington and

Design Basics demonstrate many differences in their respective sizes, dimensions, plan layouts,

massing , use of materials and appearance that reject the notion of substantial similarity.




It is also my opinion that the Design Basics' models at issue contain no expressions of

originality or creativity , either in the design as a whole , in the building elements used or in the

arrangement, composition or selection of the building elements. Instead , each Design Basics'

plan at issue conforms to an expected formula of traditional rooms and spaces conventionally

laid out and predictable in appearance, similar to countless other housing units built across the

United States for years prior to the enactment of the AWCPA.




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  Sign~d:




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                            APPENDIX A
                         Curriculum Vitae



 




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CURRICULUM VITAE

              Robert Charles Greenstreet, Ph.D., R.I.B.A. Dip.Arch (Oxford). F.R.S.A.


2             GENERAL 1 FORMA TIO


2.1           Education

              Department of Architecture, Oxford Polytechnic (now Oxford Brookes University)

              1970-74                        Part One RIBA Examination Exemption (B.A. Equiv.)
              1974-75                        Part Two RIBA Examination Exemption
              1976                           Awarded Diploma in Architecture (Oxford)
              1978                           Part Three RIBA Examination Exemption
              1976-78                        Ph.D. Studies undertaken in the Post Graduate Research
                                             School, Department of Architecture, Oxford Polytechnic.
                                             Thesis entitled: "Investigation and Analysis of the Building
                                             Control Process."
                                             Doctorate awarded May 1983

              Professional Licenses

              1978                           Architectural License (Registration Number 045098G),
                                             Architects Registration Board, United Kingdom


2.2

              Fulfillment of mandatory annual continuing education requirements in Architecture,
              Arbitration and Mediation. Available on request.*


2.3           Positions Held


2.3 .1        Professional

              Work undertaken on a full-time or part-time basis in the following offices:

              1972                           Hildebrand and Glicker, London. (Redevelopment of office
                                             accommodation, London).



• This document is formulated according to the requirements of the Professional Division of the University of
Wisconsin-Milwaukee. Certain sections have been removed from this curriculum vitae for the sake of brevity, but are
available on request.
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         1972-73              W.O. Rymills and Partners, Witney, Oxfordshire.
                              (Residential commercial and ecclesiastical work).
         1975                 B. Hubble and Partners, Wantage, Berkshire. (Renovation,
                              commercial and residential work).

         1977-78              Gray and Baynes, Oxford. (University, school and residential
                              work).

         1981-                Consulting Practice, Milwaukee, Wisconsin, involving
                              arbitrations, mediations, expert witness work and consultation
                              with architects, engineers, contractors and lawyers. Several
                              small scale design projects undertaken 1988-present.


2.3.2    Academic

         1976-78              Lecturer, Department of Architecture Oxford Polytechnic (Part-
                              time).

         1976- 78             Lecturer, Department of Town Planning, Oxford Polytechnic
                              (Part-time).

         1978-79              Visiting Assistant Professor, Department of Pre-Design
                              Professions, College of Architecture and Design, Kansas State
                              University.

         1979-80              Assistant Professor, School of Architecture and Urban Design,
                              University of Kansas.

         1980-81              Adjunct Assistant Professor, University of Kansas (London
                              Program).

                              Lecturer, Graduate Research School, Oxford Polytechnic (Part-
                              time).

                              Visiting Professor, College of Architecture and Planning, Ball
                              State University (Winter quarter).

         1981-85              Assistant Professor, Department of Architecture, University of
                              Wisconsin-Milwaukee.

         1983-                Assistant Scientist, Urban Research Center, University of
                              Wisconsin-Milwaukee.

         1985                 Promoted to Associate Professor with Tenure.




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           1985- 86                  Assistant to the Vice Chancellor, University of Wisconsin-
                                     Milwaukee.

           1986-90                    Chair ofthe Department of Architecture, University of
                                      Wisconsin-Milwaukee.

           1987-90                   Member of the University Committee, University of
                                     Wisconsin-Milwaukee, the seven-person Executive Committee
                                     of the Faculty (Vice-Chair and Newsletter Editor).

           1990                      Promoted to Professor.

           1990-                     Dean, School of Architecture and Urban Planning.

           1993-2004                  Commissioner, Milwaukee Plan Commission.

           1995-96                   President, Association of Collegiate Schools of Architecture.

           1998-2004                  Chair ofthe Milwaukee Plan Commission.

           1999-2001                 Interim Dean, School ofthe Arts, University of Wisconsin-
                                     Milwaukee (dual appointment).

           1999-2005                 Chancellor's Deputy for Campus and Urban Design, University
                                     of Wisconsin-Milwaukee.

           2003-2004                  Interim Chancellor, University of Wisconsin-Milwaukee.

           2004-2009                 Director of Planning and Design, City of Milwaukee (dual
                                     appointment).

           2009-                      Chair of City Development, UWM/City of Milwaukee.


2.4        P r ntage of Assigned Load D voted to Teaching

           100% administrative load since 1986, although at least one course taught each year on
           overload in the Department of Architecture (Fall semester, Introduction to Building
           Technology; Spring semester, Law and Professional Practice for Architects). More detailed
           teaching history available on request.




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3 .1        Arti le & Papers

            This section has been divided into three categories or groupings. The first deals with
            articles written in the field of architectural law, the area of research concentration, the
            second contains articles concerned with more general aspects of architecture and the third
            with fiction.


3.1.1       Arti les : Architectural Law

            Articles in this subsection are divided into three groups. The first contains articles written
            for Progressive Architecture, a professional journal with an international circulation of
            75,000 and the reputation as the most circulated architectural journal in the world prior to
            its demise in 1995. I was one of three regular contributors and each article was reviewed
            by the editorial board twice, at outline stage and completed paper stage. The second group
            of articles has been published in other American journals with either regional, national or
            international distribution, while the third contains articles written for journals published in
            the United Kingdom.


3.1.1.1     'Progressive Architecture' Articles

               1   Greenstreet, R. "Law: Who Really Owns Your Design?" Progressive Architecture,
                   April 1985, pp. 63-66.
                   (editorial board, international distribution)

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3 .1.4     Exhibitions

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3. 7        Research


3. 7.1      Research Grants Received

            Available on Request


3.7.2       Projects onducted, Grants Received and Funds Raised

            Available on Request.


3.8.1       Reviews ofBooks in 3.2.1

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             10                  iely of Archite ts                 June 1984
             11                                                     August 1984
             12   Architecture                                      September 1984
             13   Architect's Journal                               October 27, 1984
             14   Bu ilding Des ign                                 July 1989
             15   De igner s Journal                                February 1990
             16   Building Design                                   December 1990
             17   Journal of Ar hilectural and Planning Research    Fal11991
             18   AlA Architect                                     July 1995


3.8.2       Newspaper Interviews

            Numerous interviews in the Milwaukee Journal Sentinel and other Wisconsin journals.
            Others include New York Times, Wall Street Journal, Denver Post, the London Times and
            El Pais.

            Available on request




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3.8.3      Radio and Television Interviews

           Includes hosting a radio show and appearances on NPR, Chicago Public Radio, Wisconsin
           Public Radio, WUWM and local television stations.

           Regular monthly appearances on Lake Effect, WUWM, 2007-2013.


3.9        Papers Published in Conference Proce · djngs

             1 Greenstreet, R. "The Impact ofBui1ding Codes Upon Architectural Expression,"
               Proce dings ofthe Annual Conference, ACSA West Central R gion, University of
               Wa hingL n, t Louis, Missouri, 1985.

             2   Greenstreet, R. "Building Codes as a Determinant of Building Identity," Pr ce dings
                 ofthe Annual Conference. ACSA West R gion, Washington University. Pullman,
                 Washington, 1985.

             3   Greenstreet, R. "Legal Impacts Upon the Advancement of Technology," Paper
                 presented at the Annual   nference, ACSA Technology onference. Washington.
                 D . ., 1985.

             4   Greenstreet, R. "The Architectural Practice in the Corporate World: Conflicts of
                 Professionalism and Incorporation," Proceeding ofth Annual Conti renee, ACSA
                 East Central Region. Miami University, Oh:io. 1986.

             5   Greenstreet, R. "Hidden Determinants of Urban Form," Proceedings of the Annual
                 Conference. ACSA Annual Conferenc , Los Angeles, 1987.
                 (Published in Urbanism, Spring 1988.)

             6   Greenstreet, R. "Impacts of Legislation Upon the Provision of Shelter in Developing
                 Countries," Proceedings of Lhe World Congress Union Internationale des Architects
                 XII. Brighton. England 1987.

           Also accepted as:

             7   Greenstreet, R. "Impacts of Legislation Upon the Provision of Urban Shelter in
                 Developing Countries," Published Abstracts of the International onference on
                 Urban helt rinD vel ping ountries, London, England, 1987.

             8   Greenstreet, R. "Public Space and the Realm of Law-Legal Determinants of
                 Common Ground," J roceedings of the West Central ACSA R gional Conference,
                 Iowa. October 1987.

             9   Greenstreet, R. "Dilemmas in Architectural Education: The Concept of
                 Professionalism," Proceedings of tbe W st Regional A SA Regional Conference,
                       n, October 1 87.
                                         18
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      10   Greenstreet, R., Keegan, K. "Civic Miniatures," ~P"""'
                                                              ro:::..:c""e=dc:..:ilcu1g=-.:~=-=-=-..:..!-""'---'----"'--"'-'.!..:::!:
           Chautauqua, Mis iss i_ppi State Univer ity, Oclober 19 7.

      11   Greenstreet, R. "An Approach to Public Service," Paper presented at the As ociation
           of Collegiate chooJ s of Architecture Admin.istral    onference, Washington,
           November 1987.

      12



      13   Greenstreet, R. "The Impact of Building Codes and Legislation upon the
           Development of Tall Buildings," Proceedings of the F wtb International Con:D renee
           on Tall Buildings, Hong Kong, May 1988.

      14   Greenstreet, R. (editor) Proceedings of ACSA Special Focus Se sion, Law and
           Practice in Architecture Group Association of Collegiate Schools of Architecture
           Annual Conference, Miami 1988.

      15   Hubbard, N., Greenstreet, R. "Conflicts of Practice and Pedagogy: The Integration
           of Law and Practice into the Curriculum" Publi hed Abstracts ofthe ACSA


      16   Keegan, K., Greenstreet, R. "Material Suitability and Selection in the Design
           Process," PubLi. hed Abstracts of the i\RCC Research onferenc , Champaign-
           Urbana, Illinois, November 1988.




      18   Greenstreet, R. "The Architect as Perceived in Popular Culture," Published Abstracts
           of the Popular Culture Ass ciati n Annual Meeting, St. Louis, Missouri, April 1989.

      19   Greenstreet, R. "Understanding the Urban Fabric: The Implications of Legal
           Prescription on the Habitability of the City," Making iti s Livable C nference,
           Venice, Italy, July 1989.
           Paper published in Making Cities Livable New letter, Vol. 3, No 1,
           March/December 1991.

     20    Greenstreet, R. "Tenured Faculty Development," ACSA Administrators '
           Conference, Phoenix, 1990.

     21    Hubbard, N., Greenstreet R. "The Illinois Debate: The First Licensing Statute,"
           (Soci ty [A reb iteclura.l Ili l rian , 1990).




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      22   Greenstreet, R. "The Architect's Image: Improving Public Awareness through an
           Increased Understanding of the Development ofthe Profession's Role in Society,"
           (International Union of Architects, XVIIth Congress, Montreal, 1990).

      23   Greenstreet, R. "Evaluating the Urban Structure: How Law Affects the City,"
           (Culture, Space & History International Conference lAPS II, Ankara, 1990).

      24   Hubbard, N., Greenstreet, R. "Architecture in the Eyes ofthe Law: Towards a
           Quantifiable Definition of Architectural Practice," (Association of Collegiate
           Schools of Architecture National Meeting, San Francisco, 1991 ).

      25   Greenstreet, R. "The Architecture/Law Interface: The Continual Blurring of the
           Boundaries," (The Second CSPA Symposium on Architectural Practice/Fifth
           International and Interdisciplinary Forum on Built Form and Culture Research,
           Cincinnati, 1993).

      26   Greenstreet, R. "A Review of Current Legal and Ethical Frameworks for Post-
           Occupancy Evaluation," (Abstract published as part of symposium) Proceedings of
           Environmental Design Research Association Annual Meeting (EDRA 25)
           San Antonio, Texas, 1994.

      27   Greenstreet, R. "Forming the Urban Context: Towards a Better Understanding of
           the Forces That Determine the Fabric of the City," Proceedings of the ACSA
           European Conference, London, 1994.

      28   Greenstreet, R. "Understanding the Urban Experience," (International Association
           for People-Environment Studies, lAPS 513, Manchester, England, 1994).

      29   Greenstreet, R. "Understanding the Urban Experience: The Role of the Building
           Regulatory Process in Shaping the City," Proceedings of the International
           Association for People-Environment Studies Conference (lAPS 13) Manchester,
           England, 1994.

      30   Greenstreet, R. "Pursuing the Urban Mission: The Inner City Experience,"
           Proceedings of the ACSA European Conference, Lisbon, Portugal, 1995.

      31   Greenstreet, R. "The Allowance ofUnnecessary Evidence-A Potential Factor in the
           High Cost of Arbitration," Proceedings of the Annual Conference, Chartered
           Institute of Arbitrators, London, July 1996.

      32   Greenstreet, R., Snyder, G. "New Directions in Architectural Education: An
           Integrated Approach to Building Construction in the Curriculum." Proceedings of
           the ACSA European Conference, Copenhagen, Denmark, May 1996.




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             33   Greenstreet, R. "The Role of the Expert Witness in Construction-Related Disputes:
                  Problems and Pitfalls." Proceedings ofthe International Arbitration Conference,
                  Boston, September 1996. (Now published in book form by Kluwer Law Publishers-
                  see 3.3.7.)

             34   Greenstreet, R. "Architectural Education and the Liberal Arts," published in the
                  Pr    dings of the Architectural Educati n and Liberal Arts Symposium , Drury
                  College, January 1996.

             35   Greenstreet, R. "Intellectual Property in the Digital Age: Conflicts of Ownership and
                  Accessibility in the Physical Environment," Techn logy, Knowledg , nd
                  Bilboa, Spain, 2011.

             36   Greenstreet, R. "Urbanity and the Law: An examination of key forces and dynamics
                  that propel urban change," Spaces and Flows, An International Conference on Urban
                  and Extra Urban Studies, Prato, Italy, 2011.


             37   Greenstreet, R. "An exami11ation of the optimum attributes of a building control
                  system that ensures hea lth and sati ty in a rapidly mbanizing world ' gth International
                    onference on Interdisciplinary Social Science , Prague, Czech Republic, 2013.

             38   Greenstreet, R. "The University and the City: Fusing the academic and political
                  worlds within the urban framework to positively inform, influence and enrich the
                  planning process and urban development," pace and Flows, An international
                  Conference on Urban and extra Urban Studies, Amsterdam, Netherlands, 2013.


3.13       Other Publications

                  Keegan, K., Greenstreet, R. Design for Sauk i!Je (University of Wisconsin-
                  Milwaukee 1984). Prepared under a grant from the Village of Saukville and the First
                  National Bank, Port Washington, Wisconsin.

             2    Greenstreet, R. Visions of the -· uture (University of Wisconsin-Milwaukee 1985).
                  Prepared under a grant from the City of Port Washington, Wisconsin.

              3   Greenstreet, R. Stud nt Work. A booklet of work produced by students ofthe
                  Department of Architecture, University ofWisconsin-Milwaukee, 1987.

             4    Greenstreet, R., Ryhn, D. (Guest Editors) Wisconsin Architect. August 1988 and
                  July 1989.

              5   Greenstreet, R. (with D. Jaeckels) ARUP Student Proj ects. A booklet produced to
                  commemorate the twentieth anniversary to the School of Architecture and Urban
                  Planning, 1989.


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       6 Greenstreet, R. Alumni Work. A booklet of work produced in conjunction with the
         1989 Alumni Open House Exhibition.

       7 Greenstreet, R. The SARUP Honor Code. School of Architecture and Urban
         Planning, University of Wisconsin-Milwaukee, 1994-2003.

       8 Snyder, G., Greenstreet, R. The Image and theW rd- Writing Across the
         Curriculum. School of Architecture and Urban Planning, University of Wisconsin-
         Milwaukee, 1995.

       9 Greenstreet, R. SARUP in the City. University of Wisconsin-Milwaukee, 2009.

      10   Greenstreet, R. ARUI' in the    ity 2. University of Wisconsin-Milwaukee, 2010.

      11   Greenstreet, R. SARUJ> in the   itv 3. University ofWisconsin-Milwaukee, 2011.

      12   Greenstreet, R. SARUP in the ity 4. University of Wisconsin-Milwaukee, 2012.




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4          TEACHING


4.1        Instruction in Classroom, Laboratory. Studio or Chair

           Available on request


4.1.2      Inn valions in Teaching:


4.1.2.1    New Courses

           Graphics for Planner                                       (Oxford Polytechnic 1976-78)
           An introductory course for graduate level planning students to give them a basic
           understanding of graphic tools, affects and implementation, including photography and
           exhibition techniques, culminating in three Polytechnic-wide exhibitions of work.

           Architectural Journalism                                     (University of Kansas 1979-80)
           An attempt to develop theoretical abilities of architectural students in relation to their
           subject and to provide them with the skills necessary to communicate them in a variety of
           written formats (essay, article, interview). Offered jointly with the School of Journalism,
           University of Kansas.

           Advanced Presentation T chnigues (University of Wisconsin-Milwaukee 1985-present)
           An intensive course covering a broad range of media including a series of graphic
           exercises to sharpen students' graphic skills and knowledge of the appropriate application
           of various techniques.

           Introduction to Building Technolo gy (University of Wisconsin-Milwaukee 1990-present)
           A sophomore level course exploring basic building construction as a prerequisite for entry
           into the architectural program in the junior year.

           The Madison Studio                                (University of Wisconsin-Madison 1996)
           An exploratory architectural course for liberal arts undergraduates and high school students
           in the Madison area (with Professors Snyder, Rabinowitz and Dicker).

           Architectural Option                (University of Wisconsin-Milwaukee 1998-present)
           A new course developed with Professor H. Rabinowitz that introduces sophomores to the
           many varied professional pathways that exist in the construction world of architecturally
           educated individuals.




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4.1.2.2   Legal Aspects f Architecture

          Practic & Management in Architecture                        (Oxford Polytechnic 1976-78)
          A new diploma level course which addressed some of the more problematic aspects of
          English architectural practice. This has now formed the focus of an emphasis area within
          the curriculum.

          Law & the Architect, Plann r & Engine r in Pri at · Practice(University of Kansas 1979-80)
          A Graduate course developed with a lawyer/planner for design professionals concentrating
          on the legal structure of private practice.

          Law and Practice for Architects                                   (Ball State University and
                                                   University ofWisconsin-Milwaukee 1980-present)
          An introductory course for graduate and undergraduate students exploring the legal
          liability of the design professional and the administrative procedures involved in office
          practice.

          Advanced Law and Practic for Archit ts (University of Wisconsin-Milwaukee 1984-85)
          Building upon the introductory course, this syllabus concentrates on the more detailed
          aspects of construction law, while expanding the student's knowledge of office practice
          and procedures.


4.1.2.3   Studios

          I have taught numerous studios with total control of content, and therefore a wide range of
          exercises have been developed at various levels in the curriculum. In some of these,
          projects of a participatory nature were developed and have led to exhibitions and
          publications which have spurred neighborhood and town activity.

          In team-taught situations, I have coordinated a number of studios and have introduced a
          number of new projects into them.


4.1.2.4   Architectural Tours and Study Abroad

            1979          Graduate/Undergraduate Intersession Course to Oxford, England
                          (Kansas State University).

            1986          Organizer, Royal Institute of British Architects Tour of Milwaukee.

            1988          Organizer, Wisconsin Architects Study Tour to London, England.

            1988          Co-organizer, Study Abroad Program in Oxford, England
                          (University of Wisconsin-Milwaukee).




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           1997          Tour Guide, UWM Chancellor's Mission to London, England.

           2000-         Architectural Tours of Milwaukee for UWM Alumni Association.

           2002 - 05     Guest Guide, SARUP London/Paris Summer Program.

           2006          Alumni Tour of London and Paris.

           2007          Student Overseas Program, London Component.

           2009          Behind the Scenes in London and Paris Alumni Tour.

           2009 + 13     Student Overseas Program, London Component.

           2010          Student Overseas Program, London Component.

           2012          Winterim program to London and Paris.

           2013          London and Paris UWM Alumni Tour.

           2014          Student Overseas Program, London Component.


4.1.3              uperv1s10n

         As Chair and subsequently Dean of the School, students come for advice on planning their
         academic lives, although much ofthe burden is taken by the Student Counseling Office
         and the Chairs of the BSAS, M.Arch and Ph.D. Committees. I typically serve on a number
         of Master's Thesis Committees per semester, have been an advisor or reader on 10 Ph.D.
         theses and occasionally have independent studies undertaken under my direction.


4.1.4    Evaluations

         Available on request




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5          SERVICE

5.1        Membership or Leadership in Departmental, School, College or University Committees
           (UWM only)


5 .1.1     Department of Architectu r ·:

             1   1983-86               Curriculum and Appointments Committee (Chair, 83-84)
             2   1981 - 82             Admissions Committee (Acting Chair, summer 82)
             3   1981-82               Exhibitions Committee (Chair)
             4   1982-83               Visiting Lectures Committee
             5   1984                  Ad Hoc Grievance Committee
             6   1983-84               Faculty Search Committee
             7   1984-85               Faculty Search Committee
             8   1984-86               Research Policy Committee
             9   1984                  Studio Sequencing Subcommittee
            10   1984-85               Grievance Officer, Department of Architecture
            11   1985- 86              M.Arch Committee
            12   1986-90               As Departmental Chair, sit ex-officio on the Ph.D. Committee,
                                        M.Arch Committee, B.S.A.S. Committee, Planning and
                                        Coordinating Committee and External Affairs Committee.
            13   1986-89               All Search and Screen Committees (7)


5.1.2     University:

            14   1982-85               Scholastic Appeals Committee, Graduate School (Chair)
            15   1983 - 85             Graduate Course Committee
            16   1984-86               ROTC Task Force (Chair)
            17   1983-86               Faculty Senator
            18   1985-86               Nominations Committee
                 1985-86               Academic Planning Committee
                                       Committee on Contagious Diseases
                                       Faculty Development Grant Committee (Chair)
                                       Academic Staff Professional Development Committee
                                       Board of Visitors: Task Force on Internationalization
                                       Board of Visitors: Task Force on Outreach
                                       Task Force on Foreign Teaching Assistants (Chair)
                                       Minority Internship Committee
                                       ROTC Task Force III
                                       Personnel Advisory Committee
                                       Committee for Women's Opportunities
                                       Vacation and Sick Leave Committee
                                       Academic Staff Titles and Compensation Group
                                       Enrollment Projection Committee
                 1986 - 87             Personnel Department Evaluation Committee
                                         26
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                          Search and Screen Committee, Assistant Chancellor for
                           Student Affairs
                          Search and Screen Committee, Assistant to the Chancellor for
                           Equal Opportunity and Affirmative Action
                          Academic Plmming Committee
                          Faculty Senate
                          Foreign Teaching Assistant Committee (Chair)
          1987-88         Business/Fine Arts Building Committee (Chair)
                          Search and Screen Committee, Assistant Chancellor for
                           University Relations
                          Nominations Committee
                          UWM Foundation Advisory Committee
                          State Employees Combined Campaign (Coordinator)
          1988- 89        University Committee (Executive Committee of the Faculty
                           Senate) (Vice Chair)
                          Minority Affairs Council
                          Physical Environment Committee
                          University Committee Newsletter (Editor)
          1989-90         All-University Campaign Committee
                          Facilities Design Advisory Council
                          Faculty Advisory Committee for International Studies and
                           Sub-Committee, Search and Screen for Director of ISP
                          Building Committee:
                           Engelmann Hall
                           Business Administration Building
                           School of Architecture and Urban Planning Building
                           Bolton Hall
          1990-91         Chancellor's Budget Advisory Committee
                          Search and Screen Committee, Dean of Fine Arts, x 2
                          Writing Across the Curriculum Advisory Committee
                          Post Tenure Review and Development Committee (Chair)
                          Distinguished Academic Staff Review Committee
          1991-92         Gender Equity Task Force
                          Percent for Art Committee
                          UWM Women's Mentoring Program and Advisory Group
          1993-94         Academic Plmming Committee
                          Chancellor's Budget Advisory Committee
                          Percent for Art Committee
                          Faculty Development Committee
                          Writing Across the Curriculum Committee
                          Facility Design Committee
                          Integrated Coordinators Committee
                          Interdisciplinary Research Committee
          1995-96         Search and Screen Committee, Dean of College of Engineering
                          State Employees Combined Campaign (Co-Chair)
                          Open House Planning Committee
                          Investment Subcommittee, UWM Foundation
                          Faculty Academic Planning and Budget Committee
                                   27
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                          Three Deans' Task Forces (faculty development, role ofthe
                           chairs, telemarketing)
          1996-97         Physical Environment Committee
                          Accreditation Review Committee
                          Search and Screen Committee, Chancellor
                          Faculty Academic Planning and Budget Committee
                          Design Review Committee
                          Mentoring Program Advisory Board
                          Open House Committee
                          Collegium Society (Chair)
                          All-University Campaign Committee
                          State Employees Combined Campaign (Co-Chair)
                          Chancellor's Budget Advisory Committee
          1997-98         Search and Screen Committee, Chancellor
                          Physical Environment Committee
                          North Central Association Accreditation
                          Focused Evaluation Committee
                          Faculty Academic and Budget Advisory Committee
                          Chancellor's Budget Advisory Committee
                          Collegium Society (Chair)
                          SECC Committee (Co-Chair)
                          Open House Committee and Auction
                          Facility Design Committee
                          Faculty Mentoring Advisory Committee
          1998-99         Physical Environment Committee
                          Facility Design Committee (Chair)
                          Mentoring Program Advisory Board
                          Collegium Society (Chair)
                          Auction Committee
                          Preview Night Committee
                          Open House Planning Committee (and Trolley Coordinator)
                          Inauguration Committee
                          SECC Committee (Co-Chair)
                          Search and Screen Committee, Foundation Director
                          Milwaukee Idea Strategy Group
                          Campus Design Solutions, Milwaukee Idea (Action
                           Team Leader)
                          Commencement Speaker
          1999-2000       Facilities Design Committee (Chair)
                          Mentoring Program Advisory Committee
                          Collegium Society (Chair)
                          Chancellor's Auction (Auctioneer)
                          Open House Committee and Trolley Coordinator
                          Physical Environment Committee
                          Academic Deans' Council
                          Task Force on the Status of Women
                          Milwaukee Idea Strategy Group
                          Campus Design Solutions (Action Team Leader)
                                   28
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                          Chancellor's Cabinet
         2000- 01         Campaign Committee
                          Dean's Council
                          UWM Open House
                          Milwaukee Idea Strategy Group
                          Physical Environment Committee (Chair)
                          Status on the Task Force of Women
                          UWM Gives to UWM and Auction
                          Collegium Society (Co-Chair)
                          Faculty Mentoring Program Advisory Committee
                          Foundation Review Committee
                          Facilities Design Committee (Chair)
                          Chancellor's Cabinet
         2001 - 02        The Chancellor's Cabinet
                          The Dean's Council
                          Physical Environment Committee (Chair)
                          Facilities Design Committee (Chair)
                          Mentoring Advisory Committee
                          Open House Committee (Trolley Czar)
                          Auction Committee (Auctioneer)
                          Collegium Society (Co-Chair)
                          Search and Screen Committee, Vice Chancellor
                           for Development
                          Search and Screen Committee, Neighborhood
                           Liaison Specialist
                          Campus Design Solutions (Director)
                          Regent's Planning Committee, Exhibition and Conference
                          Dean's Council, Aging and the Community
                          Alumni Association Tours: Milwaukee Architecture
                           and River Tour
         2002-03          Chancellor's Cabinet
                          The Dean's Council
                          Physical Environment Committee (Chair)
                          Facilities Design Committee (Chair)
                          Open House Committee
                          Auction
                          Collegium Society (Co-Chair)
                          Campus Design Solutions (Director)
                          Dean's Council, Aging and the Community
                          Dean's Council, Partnership in Education
         2004-05          Community Design Solutions (Director)
                          Masterplanning Task Force (Chair)
                          Academic Dean's Council
                          Dean's Council, Aging and the Community
                          Dean's Council, Partnership in Education
                          Facilities Design Committee
                          Open House Committee
         2005-06          The Academic Dean's Council
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                          Dean's Council, Aging and the Community
                          Dean's Council, Partnership in Education
                          Community Design Solutions (Director)
                          Masterplanning Task Force (Chair)
          2006-07         Academic Dean's Council
                          The Academic Dean's Council
                          Dean's Council, Aging and the Community
                          Dean's Council, Partnership in Education
                          Community Design Solutions (Director)
                          Search and Screen Committee, CEAS Dean
         2007-08          Academic Dean's Council
                          Chair, Search and Screen Committee, Vice Chancellor for
                           Development
                          Chair, Coordinating Committee, Masterplanning
                          Academic Staff Pay Committee
         2008-09          Academic Dean's Council
                          Chair, Coordinating Committee, Masterplam1ing
                          Academic Staff Pay Committee
                          Business Engagement Task Force
         2009-10          Academic Dean's Council
                          Chair, Coordinating Committee, Masterplanning
                          Business Engagement Task Force
                          Academic Staff Pay Committee
                          Daycare Planning Committee
                          Task Force on Internationalization: Implementation Work
                           Group
         2010 - 11        Academic Dean's Council
                          Internationalization Implementation Committee
                          Columbia Hospital/Northeast Quadrant Committee
                          Strategic Research Planning (Centers of Excellence)
         2011 - 12        Academic Dean's Council
                          Budget Model Working Group
                          New Deans' Workshop
         2012 - 13        Academic Dean's Council
                          Budget Model Working Group
                          Continuing Education Working Group
         2013- 14         Academic Dean's Council
                          Academic Leadership Council
                          Budget Model Working Group
                          Search and Screen Committee, Graduate School Dean
                          Search and Screen Committee, Vice Chancellor for
                           Administrative Affairs
                          Academic Planning and Curriculum Committee
                          Physical Aspects Strategic Planning
                          Enrollment Task Force




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5.3        Involvement in Student Activities

           Publication of numerous articles in student publications, 1971-present (not listed in 3.1 ).

           Writer/Producer of annual revue, Departments of Architecture and Town Planning, 1975-
           1978.

           Editor or originator of various student/college magazines, including A.D. Even( , Kansas
           Archit t, K.A. Annual and Archimag .

           Organizer of annual Graphics Day, Careers Day and Alumni Open House (UWM) and
           participant at several Friday Afternoon Live lecture presentations.

           Faculty Advisor, Student Chapter/American Institute of Architects, UWM.

           Faculty Advisor, Third Coast Design Cooperative, UWM.

           Presentation at National American Institute of Architects Student Conference, Chicago,
           1989.

           Panelist, AlAS Grassroots Conference, Washington, December 1995 .

           Speaker, AlAS Forum, February 2006.

           Speaker, AlAS Forum, January 2008.

           Speaker, AlAS Quad Conference, Spring Green, 2010.

           Keynote Speaker, AlAS, Spring 2012.

           Keynote Speaker, AlAS Quad Conference, 2013.


5.4        M mbersbip in Pr tessional Organizati ns

           Registered Architect, Architect's Registration Board of the United Kingdom.

           Associate of the Royal Institute of British Architects.

           Fellow of the Royal Society of Arts.

           Associate of the Chartered Institute of Arbitrators (1976- 2002).

           Member of the Commercial Panel of Arbitrators, American Arbitration Association (1981- 2014

           Member of the Mediation Panel, American Arbitration Association (1981- 2014).

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           International Associate Member, American Institute of Architects.

           Associate Member, Wisconsin American Planning Association.

           Member, Wisconsin Humanities Association.


5.5        Special Ass.ignment . for Professional Organizati ns


5.5.1      Assignments :for Pr fess io11aJ Organj2alions


           State and Local

             1   Committee member involved in organization of the Wisconsin Society of Architects
                 Convention, 1982, 1987 and 1989.

             2   Member of the Editorial Board, Wisconsin Archite l, the magazine ofthe Wisconsin
                 Society of Architects.

             3   Moderator, Debate between Zaha Hadid and James Wines, Wisconsin Society of
                 Architects Convention, May 1989.

             4   Appointed to Board of Directors, Wisconsin Architects Foundation, 1989.

             5   Coordinator, Legal Aspects of Architecture Panel, WSA Convention, May 1990.

             6 Moderator, Art/ Architecture Collaboration Conference, Marquette University/
               University of Wisconsin-Milwaukee, January 1991.

             7   Member, W APA Continuing Education Task Force.

             8   Member, Board of Directors, Wisconsin Architectural Archives.

             9   Presenter, AlA-Wisconsin Annual Convention, May 1996.

            10   Presenter, AlA-Wisconsin Fall Workshop, October 1996.

            11   Presenter, Construction Specification Institute dinner, October 1997.

            12   Member, AlA-Wisconsin Continuing Education Task Force.

            13   Presenter, Future Milwaukee 1999.

            14   Presenter, Historical Society of Wisconsin 2001.

            15   Presenter, AlA-Wisconsin Southeast Chapter Legal Workshop 2001.
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      16   Presenter, AlA-Wisconsin Southwest Chapter 2002.

      17   Presenter, AlA Wisconsin Northeast Chapter 2002.

      18   Panelist, Civil Trial Council of Wisconsin Annual Conference, May 2005.

      19   Moderator and Presenter, AlA-Wisconsin Fall Workshop, Kohler, 2004.

      20   Presenter, AlA-Wisconsin Southeast Chapter, March 2005.

      21   Presenter AlA-Wisconsin Northeast Chapter, May 2005.

      22   Speaker, Green Building Workshop, 2005.

      23   Speaker, Green Conference, Milwaukee, 2007.

      24   Speaker, AlA-Wisconsin Southwest Chapter, 2008.

      25   Keynote Speaker, OSHER Annual Meeting, Milwaukee, 2010.

      26   Speaker, Golda Meir Library Annual Lecture, 2011.

      27   Speaker, Parks People, Milwaukee 2011.

      28   Keynote Speaker, WCREW Annual Awards, 2011.

      29   Keynote Speaker, Milwaukee Art Museum Annual Friends Meeting, 2011.

      30   Panelist, Historic Milwaukee Annual Meeting, 2012.

      31   Master of Ceremonies, WCREW Annual Awards, 2013.

      32   Panelist, Wisconsin State Bar Convention, 2014.

      33   Speaker, Wauwatosa Rotary, 2013.

      34   Opening Speaker, Wisconsin Green Builders Association, 2013.


     Regi nal

       1 Regular presentations at regional meetings for state organizations (see 3.6).

       2   Chair, ACSA West Central Business Meetings, October 1991.

       3   Organizer ofthe Regional ACSA Conference, October 1984. This involved setting
           the theme of the conference, coordinating the various workshops, organizing the
                                   33
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           accommodations, banquet and keynote speakers and editing the published
           proceedings.

       4   Co-speaker (with G. Snyder) Graham Foundation, March 1996, introducing 10-year
           retrospective of award-winning student work entitled "Materiality and Realism."

       5 Presenter (with G. Snyder) to Friends ofUnity Church, Madison, 1995.

       6 Moderator, Wisconsin American Planning Association, Milwaukee, 1995.




       8 Panel Presenter, Wisconsin State Bar, Madison, 2000.

       9   Panelist, AlA-Minnesota Annual Meeting, 2001.

      10   Moderator, Milwaukee Art Museum debate, 2002.

      11   Keynote Address, 1000 Friends of Wisconsin Annual Meeting, September 2004.

      12   Keynote Address, Keep Milwaukee Beautiful Annual Meeting, October 2004.

      13   Speaker, Environmental Protection Agency, Chicago, January 2005.

      14   Speaker, Conservation Coalition, May 2005.

      15   Speaker, Department ofNatural Resources, Wisconsin, 2005.

      16   Keynote Speaker, Small Cities Symposium, Wisconsin, 2004.

      17   Commencement Speaker, University of Wisconsin-Waukesha, 2004.

      18   Speaker, Governor's Conference on Downtown Development 2004.

      19   Panelist, Governor's Economic Summit 2003.

      20   Keynote Speaker, Wealth of Cities Forum, Beloit, 2005.

      21   Speaker, Mayor's Club 2005.

      22   Opening Speaker, Commercial Association of Realtors, Wisconsin, 2005.

      23   Speaker, Wisconsin Women's Transportation Seminar, Milwaukee, 2005.

      24   Speaker, Milwaukee Art Museum, 2007.

      25   Speaker, Milwaukee Public Museum, 2007.
                                   34
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      26   Speaker, City of Madison Administration, 2010.

      27   Keynote Speaker, Wisconsin Association of Academic Librarians, 2010.

      28   Speaker, American Institute of Architects, Chicago, 2010.

      29   Speaker, Women in Construction Conference, Milwaukee, 2011.

      30   Speaker, 2012 Design Awards, AlA Northern Illinois, 2013.


     National

       1 Organization of Exhibition in the American Institute of Architects Headquarters,
         Kansas City, on behalf of the Kansas City Arts Coalition, 1980.

       2 Faculty Councilor, Association of Collegiate Schools of Architecture, 1985-90.

       3 Secretary and member ofthe Executive Committee of the National Board of
         Directors, Association of Collegiate Schools of Architecture, 1988-90.

       4 Member of the Editorial Board for the Instructor's Handbook to the Architect's
         Handbook of Professional Practice, published by the American Institute of
         Architects, 1988.

       5 Coordinator, ACSA Special Focus Group, Law and Practice in Architecture. Group
         involves newsletter, annual paper session and publication of proceedings, 1985-95.

       6 Member of ACSA International Relations Committee, 1990.

       7 Member of ACSA Resource Planning Task Force, 1991.

       8 Treasurer and member of the Executive Committee of the Association of Collegiate
         Schools of Architecture, 1990-91.

       9 Panel member, Women's Issues Seminar, ACSA National Meeting, Washington,
         1991.

      10   Presentation at ACSA Administrators Conference, Co-Chair ofNew
           Administrators' Workshop, Puerto Rico, 1991.

      11   Presenter, Junior Faculty Workshop. ACSA Annual Meeting Orlando, 1991.

      12   Member ACSA Continuing Education Task Force, 1995.

      13   Moderator, Junior Faculty Workshop. Association of Collegiate Schools of
           Planning, Columbus, Ohio, 1992.
                                   35
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      14   Session moderator and presenter, ACSA Administrators' Conference, Santa Fe,
           1992.

      15   Invited Juror, Association of Collegiate Schools ofPlanning, Philadelphia, 1993 .

      16   Organizer and presenter, New Administrators' Workshop, ACSA Administrators'
           Conference, San Antonio, 1993.

      17   Member, Continuing Education Task Force (ACSA, AlA, NCARB, NAAB and
           AlAS), 1994-96.

      18   Practice Chair, ACSA Annual Meeting, Montreal, 1994.

      19   Coordinator, Junior Faculty Workshop ACSA Annual Meeting, Seattle, 1995.

      20   Opening Remarks, ACSA Teacher's Seminar, Cranbrook, 1995.

      21   Presenter, ACSA Administrators' Conference, Milwaukee, 1995.

      22   Presenter, "Frank Lloyd Wright" Conservancy Conference, 1995.

      23   Paper Reviewer, ACSA Annual meeting, Dallas, March 1997.

      24   Presenter, Junior Faculty Workshop. Association of Collegiate Schools of Planning,
           Fort Lauderdale, November 1997.

      25   Opening Speaker, ACSA Administrators' Conference, Jackson, MS, November
           1997.

      26   Panel Organizer and Speaker, American Institute of Architects Annual Convention,
           San Francisco, 1998.

      27   Keynote Address, Center for Instructional and Professional Development Annual
           Conference, UWM, 1998.

      28   Planning Committee member, Congress ofNew Urbanism, Milwaukee, 1999.

      29   Workshop presenter, Association of Collegiate Schools of Architecture
           Administrators' Conference, Washington, DC, 1998.

      30   Organizer, Plenary Session, Association of Collegiate Schools of Architecture
           Annual Meeting, Minneapolis, 1999.

      31   Workshop presenter, Association ofCollegiate Schools ofPlanning, Chicago, 1999.

      32   Workshop presenter, Association of Collegiate Schools of Architecture, Los
           Angeles, 2000.
                                   36
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      33   Workshop presenter, Association of Collegiate Schools of Architecture
           Administrators' Conference, San Francisco, 2000.

      34   Workshop presenter, Association of Collegiate School of Architecture Annual
           Meeting, Baltimore, 2001.

      35   Keynote lecturer, USDA Forestry Service, 2001.

      36   Workshop presenter, ACSA Administrators' Conference, New York, 2001.

      37   Workshop presenter, ACSA Administrators' Conference, Louisville, Kentucky,
           2002.

      38   Program Chair, American Institute of Architects National Convention, 2003.

      39   Workshop Presenter and Panelist, ACSA Administrators' Conference, Houston,
           2004.

      40   Presenter, Engaged Learning Conference, Wingspread, WI, 2004.

      41   Workshop Presenter, ACSA Annual Meeting, Chicago, 2005.

      42   Workshop Presenter, ACSA Administrators' Conference, Baltimore, 2005.

      43   Keynote Speaker, Urban Development Conference, Cincinnati, 2006.

      44   Workshop Presenter, ACSA Administrators' Conference, Scottsdale, Arizona, 2006.

      45   Keynote Speaker, Wisconsin American Planning Association, Fall, 2007.

      46   Keynote Speaker, Construction Specification Institute, Spring, 2007.

      47   Speaker, ACSA Administrators' Conference, Fall, 2007.

      48   Speaker, ACSA Administrators' Conference, Minneapolis, 2007.

      49   Presenter, American Institute of Architects Knowledge Leadership Conference,
           Milwaukee, 2008.

      50   Speaker, ACSP Conference, Milwaukee, 2007.

      51   Member, AlA Governance Task Force, 2008.

      52   Workshop Presenter, ACSA Administrators' Conference, Savannah, 2008.

      53   Keynote Speaker, American Institute of Architects Annual Convention (Public
           Architects), San Francisco, 2009.
                                   37
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           54   Workshop Presenter, ACSA Administrators' Conference, Washington, 2010.

           55   Workshop Presenter, ACSA New Administrators' Conference, Los Angeles, CA,
                2011.

           56   Workshop Presenter, ACSA New Administrators' Conference, Austin, TX, 2012.

           57   Keynote Speaker, Arc-US Architect's Forum, San Diego, CA, 2012.

           58   Keynote Speaker, Bond Interiors, Boca Raton, 2013.

           59   Panelist, Topaz Symposium AlA Convention, Denver, 2013.

           60   AlA Large Firm Roundtable, 2013.

           61   Keynote Speaker, Bond Latin America, Cancun, Mexico, 2014.

           62   Keynote Speaker, Bond Multi, San Diego, 2014.

           63   Presentation, Architecture League, New York, 2014.


          International

            1 Organization of exhibition entitled "Something the Matter with Glasgow?," Oxford,
              1977.

            2   Chair, Association of Collegiate Schools of Architecture International Conference,
                Copenhagen, 1996.

            3 Presenter to Prague government officials, American Embassy, Czech Republic,
              2008.

            4   Speaker, International Downtown Association, 2010.

            5 Tour Leader, National Preservation Association, 2010.


5.5.2     Papers and Other Presentations/Juries at Academic and Professional Meetings


5.5.2.1   Academic Institutions

          Kansas State University                      April1979
          University of Kansas                         January 1980
          Central Polytechnic, London                  May 1980
          Plymouth Polytechnic                         October 1980
                                        38
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     Arizona State University                    April 1984
     Ball State University                       September 1984
     Massachusetts Institute of Technology       October 1984
     Oxford Polytechnic                          January 1985
     Central Polytechnic, London                 January 1985
     Washington University, St. Louis            March 1985
     University of Washington, Spokane           October 1985
     Washington University, St. Louis            October 1985
     Nottingham University, England              March 1986
     Miami University, Ohio                      September 1986
     Andrews University, Michigan                March 1987
     University of Illinois at Chicago           May 1987
     Imperial College, London                    September 1987
     Iowa State University                       October 1987
     University of Illinois at Chicago           November 1987
     University of Minnesota                     March 1988
     University of Hong Kong                     May 1988
     Oxford Polytechnic                          July 1988
     University of Illinois at Chicago           May 1989
     School of Architecture, Kent
      Institute of Art and Design                March 1993
     Oxford Brookes University                   June 1993
     Architectural Association, England          June 1994
     Manchester University, England              July 1994
     Universidade Lusiada, Lisbon, Portugal      May 1995
     Ball State University                       November   1995
     Drury College                               January 1996
     Royal Danish Academy of Fine Arts           May 1996
     Oxford Brookes University, England          June 1996
     University of Minnesota                     May 2001
     University of Wisconsin-Stevens Point       2004
     Marquette University                        2005
     Beloit College                              2005
     University of Cincinnati                    2006
     Czech Technical University, Czech Republic 2008
     Czech Institute, North Carolina State
      University, Czech Republic                 2008
     Taliesin, Wisconsin                         2010
     Universidad del Pais Vasco, Bilbao          2011
     Monash University, Prato, Italy             2012
     Charles University, Prague, Czech Republic 2013
     University of Amsterdam, Netherlands        2013
     University of Wisconsin-Parkside, Wisconsin 2013




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5.5.2.2                  rganizaLions

          Invited to present papers to the following organizations:

          Wisconsin Society of Architects Annual Convention            May 1983
          Wisconsin Society of Architects Annual Convention            May 1984
          Wisconsin Society of Architects Annual Convention            September 1984
          Wisconsin Society of Architects Research Workshop            September 1984
          Institute of Business Designers                              November 1984
          Wisconsin Society of Architects (Southeast Chapter)          November 1984
          Minnesota Society of Architects Annual Convention            November 1985
          Wisconsin Society of Architects (Northeast Chapter)          November 1985
          American Institute of Architects Washington, D.C.            December 1985
          Wisconsin Society of Architects (Northeast Chapter)          April1986
          Wisconsin Society of Architects Annual Convention            May 1987
          Department of Public Instruction, Wisconsin                  November 1988
          Wisconsin Landscape Architects Association                   February 1989
          American Institute of Architects Students' Annual Meeting    April1989
          ACSA West Central Chapter                                    October 1990
          W AP A Midwest Regional Meeting                              October 1990
          Project Management Institute                                 January 1991
          American Institute of Architects Board of Directors          1995
          American Institute of Architects-Wisconsin Annual Convention 1996
          American Institute of Architects-Wisconsin Fall Workshop     1996
          Construction Specification Institute                         1997
          American Institute of Architects Annual Meeting              1998
          Wisconsin State Bar                                          2000
          Numerous other presentations to civic groups:                1991-
          Greater Milwaukee Committee, Rotary, Kiwanis, Certoma,
          Board of Regents, Retired Faculty, Gyros, Collegium Society,
          Board of Visitors, Historic Guild, Holmes Group,
          Retired Men's Club, Tempo, Assisted Living Center,
          Whitefish Bay Women's Club, 1000 Friends of Wisconsin,
          Shorewood Men's Club, Park People, Future Milwaukee,
          Greater Milwaukee Committee, Mayor's Club,
          Wisconsin Presidents' Organization, Historic Milwaukee,
          Women's Court and Civil Conference,
          Public Policy Forum, Milwaukee Club, UWM School of Continuing Education,
          Shorewood Historical Society, Women's Club ofMilwaukee, Boy Scouts,
          Retired Faculty Association, ABCD, Milwaukee Jewish Museum,
          Wisconsin Energy, Wisconsin Sign Association,
          and various church groups and clubs.


5.5 .3    Editorial Boards and Review Activities

                1982 - present          Member of the Editorial Board, Wisconsin Architect
                                        40
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                 1982                  Member of the Editorial Board, Central Magazine

                 1984- 90              Book proposal reviewer for Van      ost:rand Reinhold, New
                                       York

                 1987                  Book proposal reviewer for the Amerlcao Institut of
                                       Architects Press

                 1985-87              \ Member of Editorial Board, Representation

                 1986                  Encyclopedia reviewer for J hn Wiley and Sons, New York

                 1987-95               Proposal reviewer for the National Endowment of the Arts

                 1987- 88              Member of the Editorial Board of the Instructor's Manual to
                                       The Architect's Handbook of Pro:£1 ssional Practice (American
                                       Institute of Architects)

                 1989-94               Book and paper reviewer, Journal of Architectural Education

                 1991 -                Editorial Board and reviewer, Journal of Architecture and
                                       Urban Planning Research

                 1991-95               Book reviewer, Butterworths Publish rs

                 1999- 2002            Editorial Board member, Architectural Research Quarterly


5.6        Awards and Honors

           Elected Fellow ofthe Royal Society of Arts, United Kingdom, 1984.

             Listed in:     Who's Who in the Midwest, 21st Edition, 22nd Edition and 24th Edition

                            Who's Who of Emerging Leaders in America, 2nd Edition

                            Th International Dir ctory of Distinguished

                            Men £Achievement, 13th and 14th Editions

                            Personalities of the Americas

                            International Leaders in Achievement, 211 d Edition

                            5.000 Personalities ofthe World, 2nd Edition

                            Who's Who in Commercial and Residential Real Estate
                                         41
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                    Community Lead r of Am erica, 14111 Edition



                    Who's Who in ' inance and Business, 35 111 Edition

                    Who's Who in Am rjcan Education      3rd   and 41h Edition

                    Wbo' s Who in Science and Engineering

                    International Who's Who of Professionals

                    Who's Who Among America's Teachers,         i 11 Edition
                      ambridge Who s Who, 2009

       Urban House Rehabilitation Service Award, Milwaukee Public Schools, 1989

       Progressive Architecture Citation, 1989   (Awarded to Preiser W., Rabinowitz H.,
                                                 White E., for "Occupancy Evaluation
                                                 Guidelines," Contributed legal chapter)

       ACSA Citation for Service, 1990

       ACSA Citation for Service, 1991

       Certificate of Appreciation AlA-Wisconsin, 1994

       ACSA Citation for Service, 1994

       UWM Community Partnership Award, 1994: Inner City Studio (various faculty and
       students)

       UWM Community Partnership Award, 1995: Young Architects Club (various faculty
       and students)

       Citation for Distinguished Service, presented by AlA-Wisconsin, October 1997

       Distinguished Professor, Association of Collegiate Schools of Architecture, 1999

       UWM Employee Development Excellence Award, 2003

       Elected to Phi Kappa Phi, 2004

       Appointed UWS Wisconsin Idea Fellow, 2004



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               Citation for Service From:
                            UWM Alumni Association       2004
                            UWM Faculty Senate           2004
                            UWM Student Association      2004
                            UWS Board of Regents         2004

               ACSA Service Award, 2005

               Certificate of Appreciation, UWM Mentoring Program, 2005

               Leading Future Leaders Award, UWM, 2005

               Architect Educator of the year (1 of 7), Design IntelUgen e, 2006

               Most Respected and Admired Educators, Design Intelligence, 2008

               Nominated for Topaz Award, American Institute of Architects and Association of
               Collegiate School of Architecture, 2008.

               Citation for Service, American Institute of Architects Wisconsin, 2009

               Appointed Senior Fellow, Design Intell igence, 2009

               Most Respected and Admired Educators, Design lntelligence, 2009

               Certificate of Appreciation, Association of Licensed Architects, 201 0

               Recognized as 'Citizen Architect' by American Institute of Architects, 2010

               Awarded Topaz Medallion, Association of Collegiate Schools of Architecture and
               American Institute of Architecture, 20 13

               Granted Freedom ofthe City of London, 2012

               Messenger A ward for Excellence in Journalism, 20 13


5.7          Community, R gional and State Activities


5.7.1        Community and State Activities

                   Preparation of "The Oread Neighborhood Association Design Guide," 1980.

               2   Preparation of "Designs for Saukville, (Co-Author K. Keegan) 1984.

               3 Preparation of"Visions ofthe Future" for the city of Port Washington, Wisconsin,
                                                  43
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               1985, exhibition and booklet.

           4 Minority Recruitment presentations, University of Wisconsin, 1983-present.

           5 Presentation of seminar on "Ethics and the Professions," Urban Design Symposium,
             School of Architecture and Urban Planning, University of Wisconsin-Milwaukee,
             1986.

           6   Organization of a debate on the problems of modern architecture, British
               Broadcasting Corporation (BBC) Radio Two, 1976.

           7 Presentation at Careers Day, Oneida Reservation, April 1983.

           8 Team member, Art Cart Caper, 1987, 1988.

           9 Coordinator, UWM Float entry, City of Festivals Parade, Milwaukee (1st place
             winner).

          10   Member, Urban Household Rehabilitation Advisory Board, City of Milwaukee.

          11   Designer, playground layout and facilities, Philips Daycare Center, YWCA of
               Greater Milwaukee.

          12   Presenter, The University of Continuing Education Association Annual Conference,
               Milwaukee, June 1996.

          13   Presenter, Historic Guild of Milwaukee, 1999.

          14   Speaker, Frank Lloyd Wright Lecture Series, Madison, 2008.

          15   Keynote Speaker, In Business Awards Program, Madison, 2008,2010.

          16   Speaker, Sustaining Cities Conference, Milwaukee, 2008.

          17 Keynote Speaker, Milwaukee Art Museum Members Annual Meeting, 2011.


5.7.2

           1 Member of Advisory Board Enterprise South.

           2 Riverside High School Advisory Board (Professional Program).

           3 Milwaukee Area Technical College Advisory Committee.

           4   Member, Education Council, Associated General Contractors.

           5 Elected Chair, 1998, Milwaukee City Plan Commission.
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       6 Milwaukee Ballet Building Committee, 2004 - present.

       7 Eisner Museum Advisory Board.

       8 Board of Directors, Wisconsin Architectural Archive.

       9   Wi.sc nsin Architect Advisory Board.

      10 Milwaukee Public Market Steering Group.

      11   Urban Land Institute Program Committee.

      12   Mayoral appointments to Task Forces on:
                     • Light Rail
                     • I-794 Freeway Redesign
                     • Market Rate Housing
                     • Zoning Code Review Task Force
                     • Downtown Plan Committee
                     • Congress ofNew Urbanism Planning Committee.

      13   "Ten Chimneys" Restoration Project: Preservation Advisor.

      14   Facilities Design Committee, University School of Milwaukee.

      15   House Wisconsin Advisory Committee.

      16   Bradley Technical School. Advisory Board, 2003 - 2004.

      17 Milwaukee Partnership Academy, 2003 - 2004.

      18   Board of Directors, Bell Real Estate Institute, 2004 -

      19   Corporate Member, Board of Directors, Milwaukee Protestant Home, 2006 -

      20   Wisconsin Trustee, Ta1iesin Preservation Incorporated, 2008 -
                              Elected to Executive Committee, 2011.

      21   Executive Council, Cultural Alliance of Greater Milwaukee, 2010 - 2011.

      22   Lakefront Improvement Advisory Committee, 2011 -

      23   West Wisconsin Avenue Revitalization Committee, 2011.

      24   Design Review Team, Department of City Development, 2004- present.

      25   Harmony Initiative (UWM, Milwaukee Ballet, Medical College of Wisconsin) 2011-

                                   45
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          26        Northwest Mutual Building Advisory Committee, 2013 .


5.7.3      Other Servic : Consultations. Arbitrations and Adjudicati ns

                1 Consultation with the Department of Public Works, Western Samoa, concerning
                  development of a new building control system. (Feasibility report prepared), 1978.

                2     Consultation with Department of the Environment, United Kingdom, concerning
                      proposed changes in the current building control system, 1979.

                3     Private consultation with architects, contractors, lawyers and professional groups
                      in Wisconsin, 1981-present.

                4     Appointed to the Construction Panel of the American Arbitration Association,
                      1985-present.

                5 Judge, Inland Steel "Building of the Year" Awards Program, 1986.

                6     Technical Judge, AFRC Hotel Competition in Garmisch-Partenkirchen, Germany
                      (value $1 00,000,000), 1986-87.

                7     Judge, Belle Awards Program, Racine Urban Aesthetics, 1998-1992.

                8 Juror, Newhouse Competition, Chicago, 1991-1993.

                9     Juror, Wisconsin American Planning Association Annual Awards.

            10        Juror, Blue Heron Girl Scouts building program.

               11     Feasibility study for a new architectural program, Florida Atlantic University,
                      1995.

            12        Technical member, Architects' Selection Committee, Milwaukee Art Museum.

            13        Jury member, American Institute of Architects, Chicago Chapter, Young
                      Architects Competition, 1996.

            14        Program Appraiser, Bachelor of Science Degree, New Jersey Institute of
                      Technology, November 1996.

            15        Jury member, Topaz Award, ACSA/AIA, Washington, 1996.

            16        Appointed to the Panel of Mediators, American Arbitration Association, 1997.

            17        Juror, MSI Annual Design Awards, 2001.


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       18   Member, Architects and Construction Manager's Selection Committee,
            Milwaukee Area Technical School, 2000.

       19   Technical member, Architect's Selection Committee, Milwaukee Theater, 2001.

       20   Member, Architect's Selection Committee, Third Ward Market, 2001.

       21   Juror, American Institute of Architects Wisconsin Firm Award, 2001.

       22   Technical Advisor, Indian Community School, 2003.

       23   Juror, Pier Wisconsin Competition, 2003.

       24   Juror, MIAD Open Space Sculpture Competition, 2004.

       25   Juror, Erie Street Plaza Competition, 2005.

       26   Juror, Business Journal Awards, 2006- 2014.

       27   Artist Selection Committee, Wisconsin Avenue Street Art Program, 2006.

       28   In Business Awards Program, 2008, 2009,2010,2011, 2012,2013.

       29   Mayor's Urban Design Awards, 1998-2013.

       30   Public Art Selection Committee, Milwaukee, 2007-

       31   Technical Advisor, Kohler Art Museum

       32   Juror, Marcus Prize, 2005-2014.

       33   Juror, Urban Edge Award, 2006-2010.

       34   Juror, Association of Licensed Architects Annual Awards, 2009.

       35   Juror, American Society of Architectural Illustrators, 2010.

       36   Architect Selection Committee, Kohler Art Preserve, 2010.

       37   Juror, Developer Selection Committee, Italian Conference Center, 2011.

       38   Juror, WCREW Real Estate Awards, 2011,2012.

       39   Juror, American Institute of Architects (Missouri) Design Awards, 2012.




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                      40      Architects Selection Committee, Forest Exploration Center, Wisconsin, 2012.

                      41      Contractor Selection Committee, Forest Exploration Center, Wisconsin, 2012.




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                         APPENDIX 8
   Comparison of Design Basics and Lexington
     models regarding "substantial similarity"




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 EXAMPLE 1


 Design Basics MODEL: 3102
 Name:            Aspen
 Style:           Traditional
 Description:
          Number of floor levels: 1
          Number of bedrooms: 3
          Number of bathrooms: 2
          Number of garage stalls : 3
 Square footage: 1,339




 LEXINGTON MODEL
 Name:            Carlisle
 Style:           Ranch
 Description:
          Number of floor levels: 1
          Number of bedrooms: 3
          Number of bathrooms: 2
          Number of garage stalls: 2
 Square footage: 1,663




I PRIMARY DIFFERENCES ON ELEVATION
 Roof:
    •     Lexington's Carlisle roof is configured differently from Design Basic's
          Aspen




                                            2
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   •    Lexington's Carlisle's right gable sits close to the middle of the front
        elevation while Design Basics' Aspen right gable extends to the far right of
        the building
   •    Carlisle's eaves are of a different design than Aspen's


Walls
   •    Carlisle's exterior walls are differently configured than Aspen's.
   •    Lexington's Carlisle has two front walls to the right of its entrance, one
        extending forward of the other. Aspen has a single wall to the front of its
        entrance.


Windows
   •    Carlisle's windows differ in design and dimension from Aspen's
   •    Carlisle's two front windows are set in different walls; one window in the
        front eave and another front window set back and flush to its exterior front
        elevation. Design Basics' Aspen right gable incorporates two identical
        windows in its front eave with sided pitch features over each window
        frame


Doors
   •    Carlisle's front door differs in design detailing vertical glass panes while
        Aspen's front door's only glass feature is in the upper arch of the door
   •    Carlisle's garage door is of a different design than Aspen's which has a
        decorative three-paneled feature


Decorative features
   •    Carlisle has coach lamps flanking its garage door while Aspen has none
   •    Carlisle has no decorative features above its windows while Aspen has
        decorative sided triangular features above its front window panes




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 Materials
    •   Lexington's Carlisle right gable is faced with shingle while Design Basic's
        Aspen's roofing material extends half way down its right gable
    •   Lexington's Carlisle makes more extensive use of siding than Design
        Basics' Aspen
    •   Carlisle's garage gable is sided while Aspen's has a smaller siding feature
        within the eave that is largely covered in roofing.


I PRIMARY DIFFERENCES ON PLAN

Carlisle's living, sleeping and utility space is differently configured than Aspen.
Garage/Parking
    •   Carlisle's garage has a square footage of 569 while Aspen's is 496
    •   Carlisle's garage differs in shape from Aspen's
    •   Carlisle's has no designated garage storage space while Aspen specifies
        a storage area




Living spaces
        Great room
        •    Carlisle's Great Room is 17'10" x 18' while Aspen's is 14' x 17'4"
        •    Carlisle's Great Room is L-shaped while Aspen's is oblong
        •    Carlisle has an optional fireplace located in the back left corner of the
             Great Room while Aspen's fireplace is located centrally on the back
             wall
        •    Carlisle has a single large window on its back great Room wall while
             Aspen has a small window each side of its centrally located fireplace
        •    Carlisle does not specify a 10-foot ceiling while Aspen does




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Kitchen
     •    Carlisle differs from Aspen in kitchen location, shape, and dimension
     •    Carlisle's kitchen is much larger (13'6" x 13') than Aspen's (1 0 x 10'4")
     •    Pantries are differently located: Carlisle's is located in the front right
          corner of the room adjacent to the exterior wall while Aspen's is in the
          back left corner adjacent to the internal stairwell


     Breakfast/Dining
     •    Carlisle specifies a dining area while Aspen specifies a breakfast area
     •    Carlisle's dining area at 13'6" x 10' is much larger and differs in shape
          from Aspen's breakfast area which is 10' x 9'
     •    Carlisle has no doorway at the back of its dining area while Aspen has
          a doorway at the back between the breakfast room and the Great
          Room




Sleeping spaces
     Bedroom 1
     •    Master bedrooms differ in dimension with Carlisle at 12"6" x 14' and
          Aspen at 12' x 14'
     •    Carlisle specifies a tray ceiling; Aspen specifies a 9' ceiling
     •    Doors are differently located
     •    Carlisle's window is narrower than Aspen's


     Bedroom 2
     •    Second bedrooms differ in dimension with Carlisle's at 12'8" x 12'
          being significantly larger than Aspen's at 10' x 10'
     •    Carlisle's bedroom sits forward of the front exterior wall of the third
          bedroom while Aspen's bedrooms 2 and 3 are aligned and sit flush to
          its front exterior wall
     •    Closets are differently located


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      Bedroom 3
      •   Third bedrooms differ in size with Carlisle's at 11' x 11' and Aspen's at
          10'   X   10'
      •   Carlisle's second and third bedrooms differ from each other in size and
          shape while Aspen's are identical to each other in size and shape
      •   Third bedrooms differ in location to the exterior front wall


Bathrooms
      Bathroom 1
      •   Carlisle's master bathroom has a single washbasin while Aspen's has
          two washbasins
      •   Carlisle does not specify a whirlpool while Aspen does


      Bathroom 2
      •   Linen closets are differently configured
      •   Doors are differently configured


Other spaces
  •   Stairwells to the basement are differently located with Carlisle's moving
      down from the front to the back of the building and Aspen's from back to
      front
  •   Carlisle's has no external covered area adjoining its kitchen and dining
      area while Aspen specifies a covered area alongside its kitchen and
      breakfast area
  •   Covered entry on Carlisle differs in shape and design from Aspen's
      covered stoop
  •   Carlisle has two plant shelves while Aspen does not




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EXAMPLE 2


Design Basics MODEL: 8532
Name:          Kendrick
Style:         Cottage
Description:
         Number of floor levels: 1
         Number of bedrooms: 3
         Number of bathrooms: 2
         Number of garage stalls: 2
Square footage: 1,195




LEXINGTON MODEL
Name:          Oakridge
Style:         Ranch
Description:
         Number of floor levels: 1
         Number of bedrooms: 3
         Number of bathrooms: 2
         Number of garage stalls: 2
Square footage: 1,735




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    I PRIMARY DIFFERENCES ON ELEVATION

    Roof
•   Oakridge elevation displays a secondary, single story roof covering the extended
    dining area below while Kendrick does not




    Walls
       •    Oakridge's garage gable is differently designed and constructed than
            Kendrick
       •    Oakridge has no chimney visible along its left exterior wall while Kendrick
            has a chimney extending the full height and above its left exterior wall
       •    Oakridge has a low wall extending in front of a covered area in the right
            front of the building.   Kendrick has no wall marking off a front-facing
            covered area


    Windows
       •    Oakridge has a small window visible below the single story roof on its right
            front while Kendrick has no small window
       •    Kendrick has a shuttered window feature in its garage gable while
            Oakridge does not
       •    Oakridge's three front lower windows are 12-paned while Kendrick's are 7-
            paned
       •    Oakridge's three upper level windows are separated by wider frames than
            Kendrick's


    Doors
       •    Oakridge's garage door is differently framed from Kendrick's and has
            different decorative details above the door      Oakridge's garage door is
            differently designed.    Oakridge's garage door has 32 small identical




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        panels while Kendrick has four large panels topped by three small panels
        over each large one


 Decorative features
    •   Oakridge's garage door is flanked by coach lamps while Kendrick's is not
    •   Oakridge's front columns are longer and cleaner in design than Kendrick's
    •   Oakridge has no decorative front railing while Kendrick does
    •   Oakridge has no decoration on the pitched eave of its garage while
        Kendrick appears to have a decorative beam under the pitch of its garage
    •   Oakridge has a feature of vertical boards on its roof gable and no louver,
        while Kendrick has a horizontal shingle with a louver


 Materials
    •   Oakridge makes extensive use of stone, including a stone wall extending
        across the front of the building. Kendrick uses stone only as an accent
        material, showing a wood railing rather than a wall along its front ground
        level
    •   Oakridge uses less siding than Kendrick and Oakridge's shingles are
        smaller than Kendrick's and differently located




I PRIMARY DIFFERENCES ON PLAN
 Garage/Parking
    •   Garages differ in dimension and shape. Oakridge is 583 square feet and
        almost square while Kendrick is 430 square feet and oblong
    •   Oakridge has one internal door from the garage to the house while
        Kendrick has both an internal and an external door on the right exterior
        wall




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Living spaces
     Great Room/Family Room
     •   Oakridge specifies a Great Room while Kendrick specifies a family
         room. The rooms differ in location, dimension and shape
     •   Oakridge's Great Room is 16' x 17'6" and separate from its 14' x 10'
         dining room. Kendrick's family room is dual purpose and includes a
         dining space for a total area of 13'8" x 20'
     •   Oakridge's optional fireplace is located internally while Kendrick's
         standard fireplace is located against the right exterior wall with a
         chimney against that wall
     •   Oakridge Great Room has no doors while Kendrick's family room has a
         door opening from its covered porch and closet doors
     •   Windows are differently located


     Kitchen
     •   Oakridge's kitchen differs in location, dimension, and shape from
         Kendrick's
     •   Oakridge dimensions are 13' x 13'6" while Kendrick is smaller at 11' x
         9'3"
     •   Oakridge has a central island while Kendrick has none
     •   Windows are differently located with Oakridge's kitchen windows
         facing the rear and right sides of the building and Kendrick's single
         window facing the left side
     •   Oakridge's cabinet doors extend into the kitchen at a right angle while
         Kendrick's do not
     •   Oakridge's kitchen lies fully adjacent to the master bedroom wall while
         Kendrick's kitchen wall is only partially adjacent, the other part being
         an external wall alongside its second covered porch. Oakridge has no
         second covered porch




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     Dining
         •     Oakridge has a sizeable and distinct dining area while Kendrick's
               dining area is noted as part of the family room and is given no
               independent dimensions on its plan
         •     Dining areas differ in location, size and shape
         •     Oakridge's dining area extends in a bay beyond the main line of the
               right wall while Kendrick's dining area has no bay. Oakridge's
               windows sit central to its bay with another window on the side of the
               bay while Kendrick's dining windows sit on the flat exterior left wall
         •     Oakridge has a cathedral ceiling sitting above its dining area while
               Kendrick does not
         •     Oakridge's dining area has a door from the outside of the property




Sleeping spaces
     Bedroom 1
     •   Master bedrooms differ in size and shape with Oakridge at 13' x 13'8"
         and Kendrick at 12' x 13'
     •   Oakridge's master bedroom has a tray ceiling while Kendrick's does
         not
     •   Doors are differently located and configured
     •   Oakridge has no access to a walk in closet while Kendrick does


     Bedroom 2
     •   Second bedrooms differ in size, shape and location. Oakridge is 11' x
         12' and is located at the left back corner of the building while Kendrick
         is 10' x 10'6" and is located at the right back corner of the building
     •   Doors are differently configured
     •   Oakridge specifies no separate linen cupboard in hall while Kendrick
         does
     •   Oakridge has a vaulted ceiling while Kendrick does not


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      Bedroom 3
      •   Third bedrooms differ in location, shape and dimension. Oakridge is
          11'4" x 12' while Kendrick is 10' x 10'6"
      •   Windows are differently located
      •   Oakridge closets and closet doors are differently configured from
          Kendrick's
      •   Oakridge has a vaulted ceiling while Kendrick does not




Bathrooms
      Bathroom 1
      •   Oakridge has a walk in closet accessible from the master bathroom
          while Kendrick does not
      •   Oakridge has a window while Kendrick does not
      •   Appliances are differently configured: in Oakridge the bathtub is
          located on an internal wall while in Kendrick the bathtub is next to an
          external wall


      Bathroom 2
      •   Second bathrooms and appliances are differently oriented


Other spaces
  •   Oakridge has one covered porch located at the front of the building.
      Kendrick has two covered porches: one at the front and one at the back
  •   Oakridge has an optional powder room while Kendrick does not
  •   Steps to basement are differently located and configured. Oakridge's
      staircase is single in direction while Kendrick's is L-shaped
  •   Doors to laundry areas are differently configured




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 EXAMPLE 3


 Design Basics MODEL: 29324
 Name:          Womack
 Style:         Craftsman
 Description:
          Number of floor levels: 1.5
          Number of bedrooms: 4
          Number of bathrooms: 2
          Number of garage stalls: 2
Square footage: 1,480


LEXINGTON MODEL
 Name:          Easton
Style:
Description:
          Number of floor levels: 2
          Number of bedrooms: 4
          Number of bathrooms: 2.5
          Number of garage stalls: 2
Square footage: 2,1 08




I PRIMARY DIFFERENCES ON ELEVATION

Roof
    •     Easton's roof is differently configured than Womack's.     Easton has a
          double gable on the left roof while Womack has a single gable




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Walls
   •    Easton has a low stone wall along the front elevation while Womack has
        none


Windows
   •    Windows differ in number, design and location
   •    Easton has two seven-paned windows in it's front gable while Womack
        has a single bi-paned window in it's roof gable
   •    Easton has a second roof gable showing a small quad-paned window
        while Kendrick has none
   •    Easton has a triple seven-paned window on the left ground level while
        Womack has a double, bi-paned window on the left front ground level
   •    Easton has no window feature in its garage gable while Womack has a
        shuttered window feature centrally located on its garage gable


Doors
   •    Easton's front door is tri-paneled with no glass while Womack's front door
        has six panels and a vertical glass feature to the left of the door
   •    Easton's garage door differs in design from Womack's


Decorative features
   •    Easton has coach lamps flanking its garage door while Womack has none
   •    Easton has front columns of a cleaner and taller design than Womack's


Materials
   •    Easton uses vertical boards on its front gable and as a feature at the apex
        of its garage gable. Womack shows no vertical boards
   •    Easton's second left roof gable uses small shingles while Womack has no
        second gable on the left roof
   •    Easton uses siding on the bulk of its garage gable while Womack uses a
        large shingle


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    •   Easton uses stone more extensively than Womack, notably on the low
        wall extending across the front of the building.
    •   Easton has no railings while Womack shows a wooden railing across the
        left front ground level of the building




I PRIMARY DIFFERENCES ON PLAN
 Garage/Parking
    •   Garages differ in size and shape.
    •   Easton is 583 square feet while Womack is 562 square feet
    •   Easton is almost square while Womack is oblong with a large rectangle
        cut out of the back left corner to house its laundry area
    •   Internal garage doors are configured differently
    •   Easton's garage has no designated storage area while Womack has a
        storage designated at the rear of the garage




 Living spaces
        Family room
        •   Easton's family room differs from Womack's in dimension and
            configuration. Easton is 18' x 17'8" while Womack is 16' x 14'
        •   Easton's optional fireplace is located at the back left corner of the
            room, partially against the left exterior wall. Womack's standard
            fireplace is located on the internal back wall that separates the family
            room from the kitchen
        •   Windows are differently located with Easton's almost central to the
            front exterior wall and Womack's further to the left of its front exterior
            wall
        •   Easton's entryway from its family room to dining area is wider that
            Womack's entryway from its family room to eating area


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     •   Womack specifies an entertainment area while Easton does not




     Kitchen
     •   Kitchens differ in dimension. Easton is 10' x 14' while Womack is 9'8"
         X   13'
     •   Easton shows double cabinet doors on its pantry while Womack has a
         single walk-in door


     Dining/Eating
     •   Easton's dining area differs in shape, dimension and configuration from
         Womack's eating area
     •   Easton is 12' x 14' while Womack is 10' x 12'
     •   Easton has no doors within the space while Womack has two doors




Sleeping spaces
     Bedroom 1
     •   Easton's master bedroom differs in shape, dimension and
         configuration from Womack's
     •   Easton is 13'8" x 14' while Womack is 13' x 12'
     •   Easton has two separate windows while Womack has a single window
     •   Doors are configured differently. Easton has a side-hung door from
         the master bedroom to bathroom while Womack has a sliding door
     •   Easton has a tray ceiling while Womack does not
     •   Easton has access to a large walk-in closet while Womack has no
         walk-in closet


     Bedroom 2
     •   Second bedrooms differ in dimension, shape and configuration


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     •   Easton is 12' x 11' while Womack is 10' x 10'
     •   Easton has a large walk-in closet with corner access. Womack has a
         small closet with front access


     Bedroom 3
     •   Third bedrooms differ in dimension, shape and configuration
     •   Easton is 12' x 11 while Womack is 10' x 10'
     •   Easton has a single, side-hung doored walk-in closet located in the left
         front corner. Womack's closet has double cabinet doors and is located
         at the right rear corner
     •   Windows are differently located


Bedroom 4
     •   Fourth bedrooms differ in size, shape and configuration
     •   Easton is 12' x 12'6' while Womack is 10' x 10'
     •   Womack specifies a cathedral ceiling while Easton does not
     •   Easton has a large walk-in closet while Womack has no closet
     •   Access to Easton is by door to the bedroom space while access to
         Womack is through a corridor space past non walk-in storage


Bathrooms
     Bathroom 1
     •   Master bathrooms differ in shape and configuration
     •   Easton's toilet is located against the rear exterior wall while Womack's
         is against the left interior wall
     •   Easton's washbasin is located against the rear exterior wall while
         Womack's is against the interior left wall.
     •   Easton has a closet while Womack does not


     Bathroom 2
     •   Second bathrooms differ in shape and amenities


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      •     Easton's second bathroom is separated by a door from its twin
            washbasins while Womack's second bathroom incorporates a single
            washbasin
      •     Easton is a rectangle while Womack has a rectangular space cut out of
            its left front corner


Other spaces
  •   Easton has a full basement accessed by a stairway to the right of the
      family room while Womack has no basement and is built on slab
  •   Distribution of space on each story differs. Easton's first floor total area is
      1290 square feet while Womack's is 940 square feet. Easton's upper
      level is 818 square feet while Womack's is 540 square feet.
  •   Womack specifies an optional computer desk on its upper level while
      Easton does not
  •   Womack has a walk-in laundry closet on its upper level while Easton does
      not
  •   Easton has two full bathrooms and an additional half bathroom on its first
      floor while Womack has only two full bathrooms
  •   Laundry areas are differently configured




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 EXAMPLE 4


 Design Basics MODEL: 29524
 Name:          Taylor
Style:          Traditional
 Description:
         Number of floor levels: 2
         Number of bedrooms: 3
         Number of bathrooms: 3
         Number of garage stalls: 2
Square footage: 1,297


 LEXINGTON MODEL
 Name:          Ashwood
Style:
Description:
         Number of floor levels: 2
         Number of bedrooms: 4
         Number of bathrooms: 2.5
         Number of garage stalls: 2
Square footage: 2,199




I PRIMARY DIFFERENCES ON ELEVATION

Roof
    •    Roofs are differently configured and oriented
    •    Ashwood's roof above its front entrance is continuous with its roof across
         its front ground level living space while Taylor's roof above its front



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        entrance is separately constructed and does not extend across the living
        space
   •    Ashwood's roof above its living space is higher and extends above two
        gables while Taylor's gables extend above its roofline


Walls
   •    Ashwood's garage wall sits forward of its front living space wall while
        Taylor has one continuous wall extending across its entire front including
        its garage
   •    Ashwood's walls are constructed of different materials than Taylor's (see
        below: Materials)


Windows
   •    Most of Ashwood's windows are four-paned: three smaller panes above a
        plain large pane. Taylor's windows have up to 30 panes per window
   •    Ashwood's window over its garage differs in shape and framing from
        Taylor's. Ashwood's window is wide and shallow while Taylor's is deeper
        with a gable and triangular eave feature
   •    The window on Ashwood's rear upper gable is differently shaped and
        narrower than Taylor's


Doors
   •    Ashwood's front door has no glass while Taylor's has a multi-paneled, full-
        length glass window to the left of its front door


Decorative features
   •    Ashwood's garage is flanked by coach lamps while Taylor has no coach
        lamps
   •    Ashwood has three tapering columns that sit on stone supports while
        Taylor has only two full-length straight columns that sit on its front
        entrance space


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    •   Ashwood has a covered front porch while Taylor has only a covered front
        entranceway


 Materials
    •   Ashwood's ground level is faced largely with stone while Taylor's entire
        front is faced with standard siding
    •   Ashwood uses vertical siding over its front upper gable while Taylor uses
        standard siding
    •   Ashwood uses roofing material over its garage roof window while Taylor
        uses siding over its garage roof window
    •   Ashwood uses vertical siding around the top half of it's garage door while
        Taylor uses standard siding around its entire garage door




[ PRIMARY DIFFERENCES ON PLAN


Garage/Parking
    •   Garages differ in size, shape and orientation. Ashwood is 589 square feet
        while Taylor is 504 square feet
    •   Ashwood has a long, narrow rectangular space cut out of its right side
        while Taylor is rectangle


Living spaces
        Family room
        •    Ashwood 's family room is larger at 16' x 14'6" while Taylor is 14' x 13'
        •    Ashwood's fireplace is optional while Taylor's is standard


        Kitchen
        •    Ashwood's kitchen is different in size, shape and configuration to
             Taylor's
        •    Ashwood is 11' x 14'6" while Taylor is 10' x 10' 4"


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     •   Ashwood has a walk-in pantry while Taylor has none
     •   Appliances are differently located. Ashwood's dishwasher is at a right-
         angle to its snack counter
     •   Ashwood's kitchen sinks are located against its rear exterior wall while
         Taylor's sinks are located across its rear right corner
     •   Ashwood's window is almost centered on its rear kitchen wall while
         Taylor's is on the rear right


     Dining
     •   Ashwood differs in size and shape to Taylor
     •   Ashwood is 12 x 14'6" rectangle while Taylor is a 10'4" x 10'4" square




Sleeping spaces
     Bedroom 1
     •   Ashwood's master bedroom differs in size and configuration to Taylor
     •   Ashwood is 13' x 16' 6" while Taylor is 12'4' x 14'
     •   Ashwood has two windows, one located at the front and on the side of
         the building. Taylor has only one window located at the front
     •   Ashwood has three doors while Taylor has only two
     •   Ashwood has direct access to a walk-in closet while Taylor does not




     Bedroom 2
     •   Ashwood's second bedroom differs in size and shape from Taylor's.
         Ashwood is an 11' x 12' rectangle while Taylor is a 10' x 10" square
     •   Windows are differently located. Ashwood's single window is at the
         rear center while Taylor has one window at the rear right and another
         on the left exterior wall




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Bedroom 3
     •   Ashwood's third bedroom differs in size and shape from Taylor's.
         Ashwood is an 11' x 12' rectangle while Taylor is a 10' x 10" square
     •   Windows are differently located. Ashwood's single window is at the
         rear center while Taylor's is at the rear left of the room


Bathrooms
     Bathroom 1
     •   Ashwood's Master Bathroom is differently configured to Taylor's
     •   Ashwood has a separate walk in shower and closet while Taylor has a
         bathtub
     •   Ashwood has no access to a walk-in closet while Taylor does


     Bathroom 2
     •   Ashwood's second bathroom has an arched soffit while Taylor's does
         not
     •   Ashwood has a closet while Taylor does not


     Bathroom 3
     •   Taylor specifies 3 total bathrooms but its plan shows 2 full bathrooms
         and a powder room on the ground level




Other spaces
     •   Ashwood's plan shows a bonus room/bedroom #4 on its upper level.
         This space is 23'6" x 14', has access to a walk-in closet, and has
         windows on its front and left sides
     •   Taylor's plan shows an unfinished storage space on its upper level of
         353 square feet with no other dimensions provided. The space, unlike
         Ashwood's bonus room, has two windows to the rear and one to the
         front in a deep protruding alcove and has no walk-in closet.


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     •   Ashwood has storage cabinets in its laundry areas while Taylor has
         none
     •   Ashwood specifies a tapered hall wall with wood cap while Taylor does
         not
     •   Ashwood has a covered porch while Taylor does not
     •   Ashwood has a window on its stairwell while Taylor does not




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                                 APPENDIXC



           The generic layout and appearance of Design Basics' designs




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      Simple house designs, sucb as the layouts of Design Basics' Aspen, Womack, Taylor and Kendrick,
      contain a predictable, co~ventional array of rooms and spaces both in their use and juxtaposition,
      resulting in traditional residential appearances.

      All four house designs conform to readily identifiable patterns in both plan and elevation which can be
      simply described in conceptual images, or 'bubble diagrams'. All ofthese are very common in the
      housing market:




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      While the diagrams describing the basic organizing principles and elements of each house display minor
      variations to each other, each will have many housing models that closely follow the same layout and
      appearance in the broader housing market that have generated countless comparable housing units
      over the years, often long before the advent of copyright protection.



      The following images illustrate a range of similar plans and elevations of comparable housing units to
      one representative sample of the four Design Basics' units. All images are freely accessible on the web.
      While there are minor variations in specific sizes and details, they all conform to similar strategies of
      layout and appearance. None of the design examples shown contain any originality or creativity, and all
      use design elements in pian and elevation that are traditional and have been used in the housing
      industry for many years.:



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Bubble diagram of basic floor plan




Conceptual diagram of basic li~use elevation

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      Design Basics




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on-floor-with-ft-ranch-house-plan-with-three-bedrooms-two-baths-fireplace-plan/

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                                                                          Great Room                Owner's Suite
                                                                          16' 0" X 12' 8"            IS' o· .lii'D"
                                                                            IO'Celllng                 tO'boillflll




                                                                  Dining Area
                                                                      16' 0" X10' 0"




                                           Breakfast      JO'conlng
                                             Nook
                                            8' x to'8"                    Kitchen
                                                                  13' 10" X13' 0"




                                                                                                       Bedroom#2
                                                   Two-Car Garage                                         U'4'xU'O'
                                                         !9'8" X 20'0"                                       IO'talll~~
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                                                                               Covered Patio
                       Den                Dining                                  12' X 10'
                   10'6" X 13'8"        14'2" X 11'6"




                                                                                                                               Owners' Suite
                                                                                 Great Room                                     16'10" X 14'8"
                                                                                  21'4"X 17'




                              Garage
                             21' x.21'6"
                        (28'6" at deep bay)




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                                                                                                                                     Bedroom
                                                                                                                                     11'8" X 13'
                                                                                                                  Bedroom
                                                                                                                   12' X 11'



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Design Basics




Design Basics




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APPENDIX D: TRADITIONS OF DESIGN DEVELOPMENT IN THE
               HOMEBUILDING INDUSTRY




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        APPENDIX D: Traditions of design development in the
                      homebuilding industry


It is not surprising that there is such a similarity of styles in single family homes,

given the accepted practice of searching for acceptable housing ideas or 'best

practices' that has often been employed in the homebuilding industry. In the

absence of a strong architectural presence - most housing does not require or

involve an architect's expertize in the majority of states -the majority of design

work is undertaken by unlicensed personnel, many of whom have traditionally

referred to existing design solutions in the development of their housing units.

The practice of sharing freely available, pre-existing design ideas culled from

existing, traditional sources with clients to help them decide which design

features and options they would prefer is a widespread one. Materials on existing

homes may be gathered from books, magazines, websites, brochures and

potentially the marketing materials of competing designers, developers or

builders. These references may often be collected by prospective buyers to

share with their chosen builder to help explain their preferences and the kind of



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home they would like. Homebuilding is a very competitive industry, and those

preparing plans refer to all manner of design sources to meet their client's

approval and provide them with a design they want. In the past, this 'sharing' of

ideas was considered normal practice and, even in the aftermath of the AWCPA,

there still exists a tradition of design by reference and reinterpretation of existing

ideas.




It is reportedly quite common for discussions between homebuilders, developers

or contractors and their clients to include reference to a variety of information

sources that may include magazines, photographs or websites that contain freely

accessible design ideas of a general, schematic nature. In order to satisfy the

needs of their clients, housing designers may assemble rudimentary ideas from a

number of such sources, including their own inventory of design solutions, and

then rework them into a new design format for new clients, refining their work

before creating the working drawings necessary for construction .




This free flow of traditional, pre-existing ideas, which inevitably leads to similarity

rather than variety in the housing stock, has a long history of use and has, in fact,

some accepted value. Even architects as creative and original as Frank Lloyd



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Wright had once advocated for the reinterpretation and reuse of existing building

language. Wright even developed a pattern book which contained suggested

design component alternatives which he freely offered to the public, which was

published in journals in the early part of the Twentieth Century.




Furthermore, both the teaching and practice of architecture stress the need to

learn from the past, to respond to the prevailing site conditions and not to re-

invent the wheel for the sake of novelty in each new project. The design of a new

building is rarely a unique achievement, but a further manipulation and

reinterpretation of an existing architectural language within a new context.

Contextualism, the art of 'fitting in' with an existing built environment, actually

advocates the reuse of an existing palette of materials and forms in certain

circumstances (such as a historically significant area). Such a strategy prevents

random, visual chaos in the built environment and has long been a tradition in the

architectural profession, seen clearly in the stylistic insistence for conformity of

houses in such historic settlements as Williamsburg or Cape Cod .




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    APPENDIX E: RECENT DEVELOPMENTS IN COPYRIGHT
                     PROTECTION




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    APPENDIX E: Recent developments in copyright protection



The use of traditional ideas that are pre-existing and prevalent in the built

environment has not hitherto been questioned in the homebuilding industry until

the enactment of the Architectural Works Copyright Protection Act. While the Act

provided valuable protection of architectural ideas not previously available to

their creators, it has led to unforeseen consequences not apparently

anticipatable in the drafting of the Act. Ironically, copyright cases that have been

decided in the United States since its enactment have involved relatively few

architects, the group whose creative work the Act primarily sought to protect.

Instead, it is apparent that the provisions of the Act have been invoked by a

number of homebuilding companies who have aggressively attempted to either

protect their market share or create an exclusive right by preventing their

competitors from using their own, similar designs which do not benefit from

comparable copyright protection. By promptly registering their designs for

copyright protection, claiming originality and no previous design sources, some

companies have even expanded their quest for market control and compensation

by matching their works to other homebuilder's portfolios of work, often far

beyond their possible market reach (and in some cases, in distant states) and



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then suing them for copyright infringement. This anti-competitive conduct is, I

believe, an unexpected and unintended consequence of the copyright protection

and is, in my opinion, a misuse of the Act.




In reality, the notion that housing solutions that have long existed across the

country, all of which conform to conventional, traditional and therefore similar

designs have originated from a relatively recently copyrighted group of designs in

one American city is remote. The majority of these homes, including the Design

Basics models listed in the Complaint, share a vocabulary that has been

developed from a wide range of pre-existing, traditional sources which were

generated long before the copyright registration and the creation of the AWCPA.




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